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 6   CHRIS W. & JENNIFER W.
 7

 8                                  UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10

11    CHRIS W. & JENNIFER W.                               Case No. 20-cv-04491-JD
12
                      Plaintiffs,                          DECLARATION OF KATIE J.
13                                                         SPIELMAN IN SUPPORT OF
      v.                                                   PLAINTIFFS’ OPPOSITION TO
14                                                         DEFENDANT PROVIDENCE HEALTH
      PROVIDENCE HEALTH PLAN; BLUE                         PLAN’S MOTION TO DISMISS
15    CROSS OF CALIFORNIA dba                              COMPLAINT DUE TO LACK OF
      ANTHEM BLUE CROSS; and DOES 1                        JURISDICTION
16
      through 10,
17                                                         Date:        October 8, 2020
                      Defendants.                          Time:        10:00 a.m.
18                                                         Judge:       Hon. James Donato
19

20

21           I, KATIE J. SPIELMAN, declare:

22           1.      I am an attorney at law duly licensed to practice before all courts in the State of California

23   including this Court.    I am a partner in the law firm entitled the DL Law Group, counsel of record in

24   the instant action.

25           2.      Attached hereto as Exhibit A is a true and correct copy of the Providence 2019 year-end

26   financial    statement   for    the   fiscal   year    ending   December    31,   2019.       Printed   from

27   https://www.providence.org/about/financial-statements on September 11, 2020.

28
                                             1
      DECLARATION OF KATIE J. SPIELMAN IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT
      PROVIDENCE HEALTH PLAN’S MOTION TO DISMISS COMPLAINT DUE TO LACK OF JURISDICTION
                                   CASE NO. 20-cv-04491 JD
 1   3.     Attached hereto as Exhibit B is a true and correct copy of documentation regarding Providence
 2   Plan Partners found on the California Department of Insurance website.                 Printed from
 3         https://interactive.web.insurance.ca.gov/webuser/Licw_Agy_Det$.STARTUP?Z_ORG_ID=3777
 4   53&Z_AGY_LIC_NBR=0M39536 on September 11, 2020.
 5          4.     Attached hereto as Exhibit C is a true and correct copy of information “About Us” found
 6   on the Providence Health Plan website. Printed from https://healthplans.providence.org/about-us/ on
 7   September 11, 2020.
 8          5.     Attached hereto as Exhibit D is a true and correct copy of contact information for
 9   Providence Health Network found on the California Department of Managed Health Care website.
10   Printed from https://wpso.dmhc.ca.gov/hpsearch/details.aspx?id=933%200497&name=&page=all on
11   September 11, 2020.
12          6.     Attached hereto as Exhibit E is a true and correct copy of “How We Began/Providence”
13   found on the Providence website.    Printed from https://www.providence.org/about/our-heritage on
14   September 11, 2020.
15          7.     Attached hereto as Exhibit F is a true and correct copy of “The Future of Health For
16   All/Providence”    information    found    on    the   Providence     website.       Printed    from
17   https://www.providence.org/about on September 11, 2020.
18          8.     Attached hereto as Exhibit G is a true and correct copy of “Where We Serve/Providence”
19   information found on the Providence website. Printed from https://www.providence.org/about/where-
20   we-serve on September 11, 2020.
21          I declare under the penalty of perjury under the laws of the State of California that the
22   foregoing is true and correct, and I signed this declaration on September 14, 2020 in San Francisco,
23   California.
24
                                                _____/s/ Katie J. Spielman________________________
25                                                     Katie J. Spielman
26

27

28
                                             2
      DECLARATION OF KATIE J. SPIELMAN IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT
      PROVIDENCE HEALTH PLAN’S MOTION TO DISMISS COMPLAINT DUE TO LACK OF JURISDICTION
                                   CASE NO. 20-cv-04491 JD
EXHIBIT A
   ________________________________________________

         CONTINUING DISCLOSURE ANNUAL REPORT

   ________________________________________________



                       Information Concerning

               PROVIDENCE ST. JOSEPH HEALTH
                 AND THE OBLIGATED GROUP




The Continuing Disclosure Annual Report (the Annual Report) is
intended solely to provide certain limited financial and operating data
in accordance with undertakings of the Providence and the Members
of the Obligated Group under Rule 15c2-12 (the Undertaking) and
does not constitute a reissuance of any Official Statement relating to
the bonds referenced above or a supplement or amendment to such
Official Statement.


The Annual Report contains certain financial and operating data for the
fiscal year ended December 31, 2019. Providence has undertaken no
responsibility to update such data since December 31, 2019, except as
set forth herein. This Annual Report may be affected by actions taken
or omitted or events occurring after the date hereof. Providence has
not undertaken to determine, or to inform any person, whether any
such actions are taken or omitted or events do occur. Providence
disclaims any obligation to update this Annual Report, or to file any
reports or other information with repositories, or any other person
except as specifically required by the Undertaking.
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                                                                                          (i)
About Providence
Our Organization
         Providence is a national, not-for-profit Catholic health system comprised of
a diverse family of organizations driven by a belief that health is a human right. With
51 hospitals, more than 1,000 clinics, and many other health and educational
services, our health system and partners employ nearly 123,000 caregivers serving
more than five million patients in communities across seven Western states – Alaska,
California, Montana, New Mexico, Oregon, Texas and Washington. Our caregivers
provide quality, compassionate care to all those we serve, regardless of coverage
or ability to pay.

        Continuing an enduring commitment to world class care and serving all, especially those who are
poor and vulnerable, Providence uses scale to create Health for a Better World, one community at a time.
We have been pioneering health care for 164 years, and have a history of responding with strength and
innovation during challenging health care environments. Together, we are reimagining the future of health
care delivery in our communities for all ages and populations. Our strategies to diversify and modernize
are enabling high-quality care at affordable prices, including through networks of same-day clinics and
online care and services.

        We are privileged to serve in dynamic, contiguous markets with growing populations, which has
led to consistent increases in service utilization. We offer a comprehensive range of industry-leading
services, including an integrated delivery system of acute and ambulatory care for inpatient and outpatient
services, 29 long-term care facilities, 16 supportive housing facilities, over 7,600 directly employed
providers and over 26,000 affiliated providers, a health plan, senior care, financial assistance programs,
community health investments, and educational ministries that include a high school and university.

        Providence, with headquarters in Renton, Washington, and Irvine, California, is governed by a
sponsorship council comprising members of its two sponsoring ministries, Providence Ministries and St.
Joseph Health Ministry. We are dedicated to ensuring the continued vibrancy of not-for-profit, Catholic
health care in the United States. As one of the largest health systems in the United States, our Mission
and values call us to serve each person with love, dignity and compassion, reflecting the legacy of the
Sisters of St. Joseph and the Sisters of Providence.



                                                The Mission




                                                Our Values



                                                 Our Vision



                                               Our Promise

                                  “                                       ”




                                                      1
Our Strategic Plan
                                                                                             Guided by the
Mission and our values, we are executing a strategic plan intended to accelerate our progress toward
achieving our vision of Health for a Better World. This far-reaching vision includes continuing to deliver
high-quality, patient-centered care; ensuring patients are digitally-enabled; and our ministries serving as
a partner in health for the patients and communities we serve. We intend to achieve this by focusing on
the core areas of revenue growth, capital efficiency and process modernization. Our integrated strategic
and financial plan is supported by three key principles:
                            We are focused on delivering outstanding, affordable health care, housing,
education and other essential services to our patients and communities by:

            Creating a work experience where caregivers are developed, fulfilled and inspired to carry on
            the Mission
            Delivering safe, compassionate, high-value quality health care
            Making Providence the provider partner of choice in all our communities
            Stewarding our resources to improve operational earnings
            Fostering community commitment to our Mission via philanthropy

                                              We are focused on being our communities’ health partner,
working to achieve the physical, spiritual and emotional well-being of all. We seek to ease the way of our
communities by:

            Transforming care and improving population health outcomes, especially for those who are
            poor and vulnerable
            Leading the way in improving our nation’s mental and emotional well-being
            Extending our commitment to whole person care for people at every age and stage of life
            Engaging with partners in addressing the social determinants of health, with a focus on
            education, housing, and the environment
            Being the preferred health partner for our communities, and those we serve

                                We respond to the evolving health care landscape, pursuing new
opportunities that transform our services, in a strategic and effective manner. We seek to expand and
further sustain our Mission by:

            Diversifying sources of earnings to ensure sustainability of the ministry
            Digitally enabling, simplifying, and personalizing the health experience
            Creating an integrated scientific wellness, clinical research and genomics program that is
            nationally recognized for breakthrough advances
            Utilizing insights and value from big data to drive strategic transformation
            Activating the voice and presence of the System nationally to improve health

                                   As part of our overall strategic planning and development process,
Providence regularly evaluates and, if deemed beneficial, selectively pursues opportunities to affiliate with
other service providers and invest in new facilities, programs, or other health care related entities.
Likewise, we are frequently presented with opportunities from, and conduct discussions with, third parties
regarding potential affiliations, partnerships, mergers, acquisitions, joint operating arrangements or other
forms of collaboration, including some that could affect the Obligated Group Members. It is common for
several such discussions to be in process concurrently. System management pursues such arrangements
when there is a perceived strategic or operational benefit that is expected to enhance our ability to achieve
the Mission and/or deliver on our strategic objectives. As a result, it is possible that the current
organization and assets of the Obligated Group may change.
        In 2019, Providence announced a potential partnership with Adventist Health System/West. The
parties’ original proposal to develop a joint operating company aimed at lowering cost and improving
patient access and experience in the region by integrating clinical activities and services in six Northern

                                                      2
California counties was denied by the California Attorney General. Both parties are currently evaluating
alternative options for improving community care. In addition, during the first quarter of 2019, Providence
announced that Providence – Southern California and Cedars-Sinai had agreed to create a joint venture
that will own and operate Providence Tarzana Medical Center (the Tarzana Medical Center ), which is
situated in Tarzana, California and is currently owned and operated by Providence – Southern California.
Providence – Southern California will retain a controlling interest in the Tarzana Medical Center and, with
Cedars-Sinai, would jointly build-out and redevelop the campus of the Tarzana Medical Center.
         Providence will continue to evaluate opportunities for strategic growth. Providence does not
typically disclose such discussions unless and until it appears likely that an agreement will be reached
and any required regulatory approvals will be forthcoming.

Key Initiatives
                                             St. Joseph Health and Providence Health & Services became
one organization in 2016 because we knew we could do more for our communities together than on our
own. At that point, we adopted the name Providence St. Joseph Health for the parent organization. We
are blessed to be a diverse family of ministries and organizations committed to Health for a Better World.
After months of careful deliberation, we are unifying our Catholic ministries around a common brand: the
                                                      We recognized in order to unify around a common
brand to strengthen Catholic health care in our communities, we need an easily identifiable common brand
that ensures patients, families, employers and consumers recognize and understand our comprehensive
and diverse network of care. The unified brand will allow us to be more effective advocates for value-
based health care reform and a stronger voice for those who are poor and vulnerable. The legal name of
the parent organization will remain Providence St. Joseph Health.

                                                                                               In 2019, we
announced our multi-year strategic alliance with Microsoft to accelerate the digital transformation of health
care. This alliance will combine cloud computing, artificial intelligence, research capabilities, and
collaboration tools with our clinical expertise and care environments, while ensuring the security and
privacy of our patient data remains the paramount priority. We are developing a portfolio of integrated
solutions designed to improve health outcomes and reduce the total cost of care by combining new health
care technologies to transform the care experience. The goal will be to scale these innovations across
our system, in a transformation that will bring innovative and necessary solutions to more communities.

                                                                       In 2019, we acquired Bluetree, an Epic
consulting and strategy company that helps health care providers maximize their use of technology. The
acquisition is part of a strategy to diversify revenue to support patient care and our Mission. In joining our
System, Bluetree will extend its customer reach of more than 140 health system clients nationwide and
pursue additional growth and innovation opportunities. We have extensive experience internally
maximizing Epic, both within our own seven-state system and for other independent hospitals and medical
groups. By acquiring Bluetree, we will expand our current offerings to increase the value we deliver to
other health systems across the country. With the addition of Bluetree, we now have two electronic health
record solutions companies.

                                                                            We are using our scale to
integrate best-in-class technologies to reduce administrative burden for providers and payers. In 2019,
we acquired Lumedic, a next-generation revenue cycle management platform based on blockchain to
build a collaborative information-sharing platform. We believe we are the first integrated provider-payer
system to establish a scalable platform to transform claims processing and enhance interoperability
between providers and payers. We are engaged in efforts to reinvent our revenue cycle platform that aim
to lower overall costs, improve caregiver focus, and make care more affordable. The revenue cycle
management system can also be commercialized for a diversified revenue stream to better support our
Mission.




                                                      3
Ambulatory Care Network
                                                                                        The Ambulatory
Care Network continues to deliver on commitments to build a network of optimized, connected, lower cost
ambulatory services across Providence. In 2019, the consumer-focused division delivered high-quality,
convenient care with 2.7 million visits, and achieved top marks across the ExpressCare and Urgent Care
customer experience. We exceeded growth targets adding 38 sites, a 27-percent increase in growth from
adjusted baseline, including 16 ExpressCare clinics, 11 Urgent Care clinics, three Ambulatory Surgery
Centers, and eight One Medical retail sites. We also secured a partnership with Surgical Care Affiliates,
one of the largest ambulatory surgery centers in the United States, to develop a system-wide lower cost,
high-quality network of ambulatory surgery centers, and continued to deliver digitally-enabled
experiences consumers want with the launch of ExpressCare Virtual in Alaska, Washington, Montana,
Oregon and California.

Population Health Management
                                                                             Population Health models and
initiatives form a vital pillar in achieving our strategic plan of transforming care, delivering value-based
care, and creating healthier communities together. Our goal is to maximize the health outcomes of the
people in our defined populations and communities through the design, delivery and coordination of
affordable quality health care and services. We integrate solutions to improve social determinants of
health and provide care management for complex patients. We are building community partnerships to
increase access to health services, transportation, housing, education, food banks, and mental health
services.
       Our Population Health Management division is composed of a family of services, including
Population Health Informatics, Value-Based Care, Payer Contracting, Risk Sharing & Payments Models,
Care Management, and Mental Health Improvement that support our Providence regional care delivery
systems; and two businesses: Providence Health Plans and Ayin Health Solutions.

       Providence Health Plan (          ), a 501(c)(4) Oregon non-profit health care service contractor, and
Providence Health Assurance (          ), a wholly-owned subsidiary of PHP, are collectively referred to as
the Health Plans. Providence Plan Partners (            ), is a 501(c)(4) Washington non-profit corporation.
PPP recently announced that it has entered into a nonbinding Letter of Intent with CareOregon to evaluate
combining their capabilities in order to serve Medicaid, Medicare and dually eligible Medicaid-Medicare
members in the state of Oregon.

       The Health Plans provide services to a wide range of clients, including self-funded employers,
and insurance coverage for large group employers, small group employers, individual and family
coverage under the Affordable Care Act, Medicare Commercial, Medicare Advantage, Managed Medicaid
risk administration, pharmacy benefits management, workers compensation services, and network
access services under preferred plans.

Digital Innovation
                                                                                 We work to bring health care
into the digital and consumer age with a steadfast focus on patient and consumer value. We deploy digital
solutions to deliver personalized care that is accessible, convenient and connected. We approach this
challenge comprehensively: prioritizing or repurposing existing technologies, identifying best-of-breed
external companies to pilot, scale and/or invest, and incubating new technologies in-house, where
appropriate. We also actively collaborate with other health systems and major consumer technology
companies on shared problems and common goals. Fueled by our vision for modernized health care, we
believe this strategy will help to lower the cost of care, generate new digital revenue streams, and unlock
population health management capabilities that help entire communities stay healthy.




                                                      4
                                            . Founded in 2014, Providence Ventures manages a $300
million venture capital fund designed to achieve venture class returns through direct investments in
innovative health care companies that improve quality and convenience, lower cost and improve health
outcomes. Providence Ventures offers investment capital and health system expertise to best-in-class
companies addressing existing and emerging challenges in health care. We also partner with our portfolio
companies to refine existing solutions, while expanding their adoption within and beyond our health
system. Our venture funds target early and growth-stage health care companies that specialize in health
care information technology, technology-enabled services, health care services, and medical devices.

Home & Community Care
                                                                As a trusted partner for individuals and
families, our community-based care and services are geared to help in times of need, aging and illness,
and at the end of life. We provide a full range of post-acute services, including assisted living, skilled
nursing and rehabilitation, home health, home infusion and pharmacy services, home medical equipment,
hospice and palliative care, Program of All-Inclusive Care for the Elderly (PACE) locations, supportive
housing, and personal home care services. As our Mission calls us to serve the most vulnerable and poor
members of our community, we provide a full range of services and support more to than 38,000 patients,
participants and residents each day. The demand for these services continues to increase in the markets
we serve, creating opportunities for continued growth, innovation and investment.

Physician Enterprises
        The physician enterprise within the System consists of employed and foundation and affiliate
physicians, providers and their supporting care teams. Our Employed Provider Network (the
         ) is composed of eight provider service organizations. The physician enterprise aims to create
a more unified provider voice and patient experience for consumers across Providence’s seven states
through its medical group and affiliate practices.

        Medical groups and medical foundations within the Provider Network include: Providence Medical
Group, a network serving Alaska, Washington and Montana, and Oregon; Swedish Medical Group, with
staffed clinics throughout Washington’s greater Puget Sound area; Providence Medical Institute (        ),
in Southern California; Pacific Medical Centers, in western Washington; Kadlec, serving communities in
southeast Washington; Providence St. John’s Medical Foundation, in Southern California; Facey Medical
Foundation (          ), in Southern California; St. Joseph Heritage Healthcare, in Northern and Southern
California; Covenant Medical Group and Covenant Health Partners, operating in West Texas and Eastern
New Mexico.




                                                    5
       The System is organized into the geographic regions spanning seven states across the western
United States shown in the graphic below.

EXHIBIT 1.1




                                                 6
Region Information
       The System’s operating revenue share by geographic region is presented for the fiscal years
ended December 31:

                                                                                                Fiscal Year Ended

   EXHIBIT 1.2 - REGIONAL OPERATING REVENUE SHARE                                    12-31-2018                  12-31-2019

   Alaska                                                                                           4%                          4%
   Swedish                                                                                         11%                         11%
   Washington and Montana                                                                          20%                         20%
   Oregon                                                                                          21%                         21%
   Northern California (1)                                                                          6%                          6%
   Southern California (1)                                                                         29%                         31%
   West Texas and Eastern New Mexico (2)                                                            6%                          5%
   Other (including Home & Community Care)                                                          3%                          2%
          (1)
                Includes recognition of revenue from California provider fee program of $633 million in 2019 and $604 million in 2018.
          (2)
                As reported, the West Texas/Eastern New Mexico regional share decreased due to $462 million in divested revenue related
                to the sale of Texas-based FirstCare Health Plans in 2019, including eliminations related to claims activity in 2018.




         As the largest health system in Alaska, the System includes 17 facilities throughout the state, with
a 32-percent inpatient market share statewide in 2018, as reported by the Alaska Health Facilities Data
Reporting Program. Providence Alaska Medical Center (                   ) is the largest hospital in the state. The
System’s 17 Alaska facilities are located in the greater Anchorage area, with 56 percent inpatient market
share, and in the remote communities of Kodiak, Seward and Valdez, as reported by the Alaska Health
Facilities Data Reporting Program. PAMC is a 401-bed acute care facility and the only comprehensive
tertiary referral center in the state. St. Elias Specialty Hospital, a 59-bed long term acute hospital (the only
one in the state) is also located in the Anchorage area. Three critical access hospitals are located in
Kodiak, Seward and Valdez, all co-located with skilled nursing facilities.



       In the greater Puget Sound area of Washington, Swedish Health Services operates five hospital
campuses: First Hill, Cherry Hill, Ballard, Edmonds and Issaquah located in King and Snohomish
counties. The inpatient market share for Swedish was 26 percent in 2018, as reported by the
Comprehensive Hospital Abstract Reporting System. Swedish also has ambulatory care centers in
Redmond and Mill Creek, and a network of more than 100 primary care and specialty clinics throughout
the Seattle metropolitan corridor.



        In the Washington-Montana region, the System includes 12 hospitals, with a 44-percent inpatient
market share in their service areas in 2018, as reported by the Comprehensive Hospital Abstract
Reporting System. The region is composed of five geographic markets: Northwest Washington,
Southwest Washington, Eastern Washington, Southeast Washington and Western Montana, with medical
groups in the region employing more than 2,300 providers. The region provides a variety of services,
including home health care, primary and immediate care services, inpatient rehabilitation, and general
acute care services.



       The Oregon region includes eight hospitals in Portland, Hood River, Medford, Milwaukie,
Newberg, Seaside and Oregon City, with a total inpatient market share of 30 percent in their service areas
in 2018, as reported by Apprise Health Insights. Providence St. Vincent Medical Center provides tertiary


                                                                   7
care to the Portland metropolitan market. The region also provides more than 100 primary care, specialty
and immediate care clinics, home health care, and housing. The Health Plans are based in Oregon, and
a majority of the members (nearly 650,000) live in the region.



        The System’s ministries in Northern California serve the North Coast, Humboldt, Napa and
Sonoma communities with five hospitals, ambulatory surgery centers, urgent care centers, wellness
centers, physician offices, home health, hospice, and rehabilitation sites. The acute care hospitals in
Northern California had 37-percent inpatient market share in their service areas in 2018, as reported by
the Office of Statewide Health Planning and Development. St. Joseph Heritage Healthcare, a medical
foundation, operates clinics in the region with its contracted physician partners.



        The Southern California region includes 13 acute care hospitals in Los Angeles, Orange and San
Bernardino counties, and the High Desert, with a total inpatient market share of 25 percent in their service
areas in 2018, as reported by the Office of Statewide Health Planning and Development. In Los Angeles
County, the System includes six acute care facilities. Our largest hospital, Providence St. Joseph Medical
Center, is located in Burbank. The System also includes hospitals in Mission Hills, San Pedro, Tarzana,
Torrance and Santa Monica. Providence Medical Foundation (               ) operates 63 practice locations in
the market, offering more than 20 types of specialty care. PMF includes the Facey, PMI and Providence
St. John’s medical foundations, In addition, the System includes seven acute care facilities within Orange
and San Bernardino counties: Apple Valley, Fullerton, Mission Viejo, Laguna Beach, Newport Beach,
Irvine and Orange. Mission Hospital is located on two campuses in Mission Viejo and Laguna Beach,
and maintains the region’s level II trauma center, as well as a women’s center. Hoag Hospital, which also
is composed of two campuses, in Newport Beach and Irvine, also includes Hoag Orthopedic Institute, part
of St. Joseph Hoag Health alliance described below. St. Joseph Heritage Healthcare, a medical
foundation, operates clinics in the region with its contracted physician partners.



       The West Texas-Eastern New Mexico region includes Covenant Health System and Covenant
Medical Group. Covenant Health System and its related Texas affiliates is the market’s largest health
system with seven licensed hospitals; the inpatient market share was 40 percent in their service areas in
2018, as reported by Texas Health Care Information Collection. Covenant Health System also operates
Grace Health System, which includes Grace Clinic and Grace Medical Center, and Covenant Medical
Group, a medical foundation physician network of employed and aligned physicians. Covenant Health
System, operates two acute care community hospitals in the region, Covenant Health Plainview and
Covenant Health Levelland, and Specialty Hospital, a long-term acute care facility. Covenant Health
System also operates a joint venture acute rehabilitation facility and Hospice of Lubbock.




                                                     8
Obligated Group
     Providence and the other entities so designated in the Glossary are currently Obligated Group
Members under the Master Indenture.

        Providence is the Obligated Group Agent under the Master Indenture. Under the Master
Indenture, debt incurred or secured through the issuance of Obligations under the Master Indenture are
the responsibility, jointly and severally, of the Obligated Group Members. Pursuant to the Master
Indenture, Obligated Group Members may be added to and withdrawn from the Obligated Group under
certain conditions described in the Master Indenture. INDEBTEDNESS EVIDENCED OR SECURED BY
OBLIGATIONS ISSUED UNDER THE MASTER INDENTURE IS SOLELY THE OBLIGATION OF THE
OBLIGATED GROUP, AND SUCH OBLIGATIONS ARE NOT GUARANTEED BY, OR THE LIABILITIES
OF, SISTERS OF PROVIDENCE, MOTHER JOSEPH PROVINCE, ANY OTHER PROVINCE OF THE
SISTERS OF PROVIDENCE MONTREAL CONGREGATION, THE LITTLE COMPANY OF MARY
SISTERS, AMERICAN PROVINCE, SISTERS OF ST. JOSEPH OF ORANGE, THE ROMAN CATHOLIC
CHURCH, OR ANY AFFILIATE OF THE SYSTEM THAT IS NOT AN OBLIGATED GROUP MEMBER.



         The System’s key volume indicators are presented for the fiscal years ended December 31:

                                                                         Fiscal Year Ended

  EXHIBIT 2.1 – SYSTEM UTILIZATION
                                                                 12-31-2018                  12-31-2019
  DATA PRESENTED IN THOUSANDS UNLESS NOTED
  Inpatient Admissions                                                          514                         507
  Acute Adjusted Admissions                                                    1,025                       1,041
  Acute Patient Days                                                           2,441                       2,464
  Long-Term Patient Days                                                        413                         402
  Outpatient Visits (incl. Physicians)                                        26,915                      27,302
  Emergency Room Visits                                                        2,108                       2,125
  Surgeries and Procedures                                                      690                         699
  Acute Average Daily Census (Actual)                                          6,688                       6,752
  Providence Health Plan Members                                                648                         649




         The Obligated Group’s key volume indicators are presented for the fiscal years ended December
31:

                                                                              Fiscal Year Ended

 EXHIBIT 2.2 – OBLIGATED GROUP UTILIZATION
                                                                 12-31-2018                   12-31-2019
 DATA PRESENTED IN THOUSANDS UNLESS NOTED
 Obligated Group
 Inpatient Admissions                                                            504                         497
 Acute Adjusted Admissions                                                       974                         982
 Acute Patient Days                                                            2,395                        2,413
 Long-Term Patient Days                                                          402                         392
 Outpatient Visits (incl. Physicians)                                         21,450                       21,402
 Emergency Room Visits                                                         2,089                        2,097
 Surgeries and Procedures                                                        561                         568
 Acute Average Daily Census (Actual)                                           6,562                        6,611




                                                   9
Financial Information
          The summary audited combined financial information as of and for the fiscal years ended
December 31, 2019 and 2018, respectively, are presented below. The financial information should be
read in conjunction with the audited combined financial statements of the System, including the notes
thereto, and the report of KPMG LLP, independent auditors.

        For the fiscal year ended December 31, 2019, the audited combined net operating revenue and
total assets attributable to the Obligated Group Members were approximately 84 percent and 87 percent,
respectively, of the System totals. For the fiscal year ended December 31, 2018, the audited combined
net operating revenues and total assets attributable to the Obligated Group Members were approximately
82 percent and 87 percent, respectively, of the Systems totals. Refer to Exhibit 6, below, for
supplementary information on the Obligated Group Members.

        The preparation of financial statements in conformity with accounting principles generally
accepted in the United States of America requires management to make assumptions, estimates and
judgments that affect the amounts reported in the combined financial statements, including the notes
thereto, and related disclosures of commitments and contingencies, if any. System management
considers critical accounting policies to be those that require the more significant judgments and
estimates in the preparation of its financial statements, including the following: recognition of net operating
revenues, which includes contractual allowances; impairment of long-lived assets; valuation of
investments; accounting for expenses in connection with restructuring activities; provisions for bad debt;
and reserves for losses and expenses related to health care professional and general liability risks.
Management relies on historical experience and on other assumptions believed to be reasonable under
the circumstances in making its judgments and estimates. Actual results could differ materially from those
estimates.

                              Summary Audited Combined Statements of Operations

                                                                                               Fiscal Year Ended

   EXHIBIT 3.1 – COMBINED STATEMENTS OF OPERATIONS
                                                                                  12-31-2018                   12-31-2019
   $ PRESENTED IN MILLIONS
   Net Patient Revenue                                                                        $18,998                 $19,883
   Premium Revenues                                                                             2,981                   2,376
   Capitation Revenue                                                                           1,378                   1,514
   Other Revenue                                                                                1,071                   1,252
   Total Operating Revenues                                                                    24,428                  25,025
   Salaries and Benefits                                                                       11,883                  12,172
   Supplies                                                                                     3,563                   3,698
   Purchased Healthcare Services                                                                2,414                   2,049
   Interest, Depreciation, and Amortization                                                     1,360                   1,345
   Purchased Services, Professional Fees, and Other                                             5,043                   5,388
   Total Operating Expenses Before Restructuring Costs                                         24,263                  24,652
   Excess of Revenues Over Expenses from Operations Before
   Restructuring Costs                                                                            165                      373
   Restructuring Costs                                                                            162                      159
   Excess of Revenues Over Expenses from Operations                                                 3                      214
   Total Net Non-Operating (Losses) Gains                                                       (448)                    1,144
   (Deficit) Excess of Revenues Over Expenses                                                  $(445)                   $1,358
   Operating EBIDA                                                                             $1,363                   $1,559
   Pro Forma Operating EBIDA (1)                                                               $1,525                   $1,718
       (1)   Pro forma Operating EBIDA normalizes for restructuring costs in 2019 and 2018.




                                                                10
                                   Summary Audited Combined Balance Sheets

                                                                                               As of

EXHIBIT 3.2 – COMBINED BALANCE SHEET
                                                                              12-31-2018                12-31-2019
$ PRESENTED IN MILLIONS
Current Assets:
Cash and Cash Equivalents                                                                $1,597                    $1,316
Accounts Receivable, Net                                                                   2,257                     2,400
Supplies Inventory                                                                          293                       283
Other Current Assets                                                                        858                      1,233
Current Portion of Assets Whose Use is Limited                                              654                       702
Total Current Assets                                                                       5,659                     5,934
Assets Whose Use is Limited:                                                              9,599                    10,855
Property, Plant & Equipment                                                              10,871                    10,978
Other Assets (1)                                                                          1,300                     2,785
Total Assets                                                                           $27,429                    $30,552
Current Liabilities:
Current Portion of Long-Term Debt                                                          $300                       $85
Master Trust Debt Classified as Short-Term                                                  110                        205
Accounts Payable                                                                           1,098                     1,035
Accrued Compensation                                                                       1,202                     1,145
Other Current Liabilities (1)                                                              1,835                     2,428
Total Current Liabilities                                                                  4,545                     4,898
Long-Term Debt, Net of Current Portion                                                     6,258                     6,393
Pension Benefit Obligation                                                                 1,065                     1,094
Other Liabilities (1)                                                                      1,170                     2,292
Total Liabilities                                                                      $13,038                    $14,677
Net Assets:
Controlling Interests                                                                    12,988                    14,344
Noncontrolling Interest                                                                     168                       150
Net Assets without Donor Restrictions                                                    13,156                    14,494
Net Assets with Donor Restrictions                                                         1,235                     1,381
Total Net Assets                                                                         14,391                    15,875
Total Liabilities and Net Assets                                                       $27,429                    $30,552
      (1)
            In 2019, the System adopted ASC 842, Leases, in accordance with U.S. GAAP and recognizes right-of-use assets and
            lease liabilities on the balance sheet for all leases with a term longer than 12 months.




                                                            11
Management’s Discussion and Analysis: Fiscal Year Ended December 31, 2019
         Management’s discussion and analysis provides additional narrative explanation of the financial
condition, operational results and cash flow of the System to assist in increasing understanding of the
combined financial statements. The summary audited combined financial information as of and for the
fiscal years ended December 31, 2019 and 2018, respectively, are presented below.

Results of Operations


          Operating earnings before interest, depreciation and amortization                  and operating
income were $1.6 billion and $214 million, respectively, for the fiscal year ended December 31, 2019,
compared with $1.4 billion and $3 million, respectively, for the same period in 2018, and includes
restructuring costs and the recognition of provider fee programs, in addition to the net revenue impact
from the sale of Texas-based FirstCare Health Plans in 2019, compared with the prior year. Pro forma
operating EBIDA and operating income normalized for restructuring costs increased $193 million and
$208 million, respectively, for the fiscal year ended December 31, 2019, compared with the same period
in 2018. The net increase was primarily driven by higher patient volumes, higher acuity, and higher labor
productivity and rates, in addition to improved medical supply management due to key modernization
initiatives. The System’s key financial indicators are presented for the fiscal years ended December 31:

                                                                      AS REPORTED                  PRO FORMA (1)

  EXHIBIT 3.3 – OPERATIONS SUMMARY
                                                             12-31-2018        12-31-2019    12-31-2018     12-31-2019
  $ PRESENTED IN MILLIONS

  Operating Income                                                       $3           $214          $165             $373
  Operating Margin %                                                    0.0            0.9           0.7              1.5
  Operating EBIDA                                                     1,363          1,559         1,525            1,718
  Operating EBIDA Margin %                                              5.6            6.2           6.2              6.9
  Net Service Revenue/Case Mix Adjusted Admits                       12,066         12,099        12,066           12,099
  Net Expense/Case Mix Adjusted Admits                               12,064         11,980        11,902           11,892
  Total Community Benefit                                            $1,595         $1,515             -                -
  Full-Time Equivalents (thousands)                                     105            105             -                -
          (1)
              Pro forma normalizes for restructuring costs in 2019 and 2018.




         While patient volumes have continued to grow in comparison to the prior year, this growth has
coincided with a shift to the outpatient setting and higher acuity within the inpatient setting as measured
by case mix adjusted admissions                The System experienced three percent higher CMAA for the
fiscal year ended December 31, 2019, compared with the same period in 2018. Surgeries and procedures
continue to grow through a combination of Providence wholly-owned and joint venture activities, including
a three percent increase in the Providence outpatient setting, compared with the prior year. Total
outpatient visits increased by one percent for the fiscal year ended December 31, 2019, compared with
the same period in 2018, as inpatient admissions for lower acuity services shift to the outpatient setting.
Acute patient days and acute average daily census both increased by one percent for the fiscal year
ended December 31, 2019, compared with the same period in 2018, reflecting higher acuity and longer
stays in the inpatient setting.



        Operating revenues for the fiscal year ended December 31, 2019 were $25.0 billion, an increase
of two percent, compared with the same period in 2018, primarily driven by higher patient volumes, and
higher acuity and rates, combined with the recognition of accrued reimbursements from provider fee
programs of $942 million in 2019, compared with $894 million for the same period in 2018, in addition to
the divestment of $462 million in net revenue due to the sale of Texas-based FirstCare Health Plans in

                                                                 12
2019. Lower reimbursements for services from changes in payor mix, payment rates and procedure mix
remains a significant challenge for the System. Government health programs, principally Medicare,
continue to modestly outpace our commercial growth compared to the prior year, which has coincided
with increases in acuity levels. Net patient revenues per CMAA remained steady for the fiscal year ended
December 31, 2019, compared with the same period in 2018.

        The System’s operating revenues by state are presented for the fiscal years ended December 31
(footnotes appear beneath last table):
                                                                                               Fiscal Year Ended

  EXHIBIT 3.4 - OPERATING REVENUES BY STATE
                                                                                    12-31-2018                     12-31-2019
  $ PRESENTED IN MILLIONS
  Alaska                                                                                            $851                         $877
  Washington                                                                                       6,724                         7,036
  Montana                                                                                            433                          450
  Oregon                                                                                           5,091                         5,207
  California (1)                                                                                   8,684                         9,083
           (2)
  Texas                                                                                            1,574                         1,120
  Total Revenues from Contracts with Customers                                                    23,357                        23,773
  Other Revenues                                                                                   1,071                         1,252
  Total Operating Revenues                                                                     $24,428                     $25,025


     The System’s operating revenues by line of business are presented for the fiscal years ended
December 31 (footnotes appear beneath last table):
                                                                                               Fiscal Year Ended

   EXHIBIT 3.5 – OPERATING REVENUES BY LINE OF BUSINESS
                                                                                     12-31-2018                  12-31-2019
   $ PRESENTED IN MILLIONS
   Hospitals (1)                                                                               $16,187                     $16,805
   Health Plans and Accountable Care (2)                                                         3,212                       2,553
   Physician and Outpatient Activities                                                           2,726                       2,865
   Long-term Care, Home Care, and Hospice                                                          990                       1,198
   Other Services                                                                                  242                         352
   Total Revenues from Contracts with Customers                                                   23,357                      23,773
   Other Revenues                                                                                  1,071                       1,252
   Total Operating Revenues                                                                    $24,428                     $25,025


           The System’s operating revenues by payor are presented for the fiscal years ended December
31:
                                                                                               Fiscal Year Ended

      EXHIBIT 3.6 – OPERATING REVENUES BY PAYOR (3)
                                                                                     12-31-2018                  12-31-2019
      $ PRESENTED IN MILLIONS
      Commercial                                                                               $11,503                     $11,918
      Medicare                                                                                   7,540                       8,017
      Medicaid (1)                                                                               3,781                       3,441
      Self-pay and Other                                                                           533                         397
      Total Revenues from Contracts with Customers                                               23,357                       23,773
      Other Revenues                                                                              1,071                        1,252
      Total Operating Revenues                                                                   $24,428                      $25,025
           (1)
               Includes recognition of revenue from California provider fee program of $633 million in 2019 and $604 million in 2018.
           (2)
               Decrease due to $462 million in divested net revenue related to the sale of Texas-based FirstCare Health Plans in 2019.
           (3)
               Represents total payor net patient revenues received, including premium and capitation revenue in accordance with ASC
               606, Revenue from Contracts with Customers. Refer to Exhibit 6.3 within Exhibit 6 attached hereto for supplementary
               information on net patient revenue payor mix driven by patient utilization.




                                                                   13
        Operating expenses for the fiscal year ended December 31, 2019 were $24.7 billion, an increase
of two percent, compared with the same period in 2018, primarily driven by costs associated with serving
the System’s higher patient volumes, combined with restructuring costs incurred to streamline operations
and drive future operating performance. Labor productivity improved four percent on an adjusted
occupied bed volumes basis, and medical supply costs per CMAA were lower by three percent, compared
with the prior year. Overall salaries and benefits expenses increased three percent for the fiscal year
ended December 31, 2019, compared with the same period in 2018. Supplies expense increased by four
percent compared with the prior year, driven primarily by an eight percent increase in pharmaceutical
spend. This growth was offset by higher labor productivity and expense management efforts with a one
percent reduction in expenses per CMAA for the year ended December 31, 2019, compared with the
same period in 2018.



        Non-operating gains totaled $1.1 billion for the fiscal year ended December 31, 2019, compared
with non-operating losses of $448 million for the same period in 2018. The increase was primarily driven
by strong investment performance, including investment gains of $1.3 billion for the fiscal year ended
December 31, 2019, compared with investment losses of $366 million for the same period in 2018.

Liquidity and Capital Resources; Outstanding Indebtedness


        Unrestricted cash and investments totaled approximately $12.3 billion as of December 31, 2019,
compared to $11.2 billion as of December 31, 2018, and includes cash generated from operations, debt
service costs, capital spending and investment activity. The System’s liquidity is presented for the fiscal
years ended December 31:
                                                                                     As of

   EXHIBIT 4.1 – INVESTMENTS BY DURATION
                                                                  12-31-2018                 12-31-2019
   $ PRESENTED IN MILLIONS
   Cash and Cash Equivalents                                               $1,597                         $1,316
   Short-Term Investments                                                     511                            549
   Long-Term Investments                                                    9,135                         10,404
   Total Unrestricted Cash and Investments                                $11,243                     $12,269


         The System maintains a long-term investment portfolio comprised of operating and foundation
investment assets. The System’s target asset allocation for the long-term portfolio, by general asset
class, is presented for the fiscal years ended December 31:
                                                                                     As of

   EXHIBIT 4.2 – INVESTMENTS BY TYPE                              12-31-2018                 12-31-2019

   Cash and Cash Equivalents                                                    2%                           2%
   Domestic and International Equities                                         45%                          45%
   Debt Securities                                                             33%                          38%
   Other Securities                                                            20%                          15%




                                                    14
    The System’s financial ratios presented for the fiscal years ended December 31:
                                                                                            As of

EXHIBIT 4.3 – SUMMARY OF KEY RATIOS                                        12-31-2018                   12-31-2019

Total Debt to Capitalization %                                                            32.6                         31.3
Comprehensive Debt to Capitalization % (1)                                                41.9                         38.6
Cash to Debt Ratio %                                                                     176.6                        185.9
Cash to Comprehensive Debt % (1)                                                         118.4                        134.5
Current Debt Service Coverage                                                              4.4                          3.0
Days Cash on Hand (3)                                                                     178                          191
Debt to Operating Cash Flow (2)                                                            4.7                          4.2
Maximum Annual Debt Service                                                               390                          390
Cash to Net Assets Ratio                                                                  0.85                         0.85
    (1)
          Comprehensive Debt uses actuals for 2019 due to the adoption of ASC 842, Leases, with operating lease liabilities
          recognized on-balance sheet. Best estimates were used pre-adoption for prior periods.
    (2)
          Debt to Operating Cash Flow, a measure of total debt to cash flow from operations, is calculated based on a rolling 12-
          months of EBIDA for the current period.
    (3)
          Day Cash on Hand, a measure of cash in relation to monthly operating expenses, is calculated as follows: (unrestricted
          cash & investments) / (total operating expenses – depreciation and amortization expenses)/days outstanding during the
          periods)).




    The System’s capitalization is presented for the fiscal years ended December 31:
                                                                                            As of

EXHIBIT 4.4 – SYSTEM CAPITALIZATION
                                                                            12-31-2018                  12-31-2019
$ PRESENTED IN MILLIONS UNLESS NOTED
Long-Term Indebtedness                                                                  $6,558                       $6,478
Less: Current Portion of Long-Term Debt                                                    300                           85
Net Long-Term Debt                                                                       6,258                        6,393
Net Assets – Unrestricted                                                               13,156                       14,494
Total Capitalization                                                                  $19,414                      $20,887

Long-term Debt to Capitalization %                                                        32.2                         30.6




    The Obligated Group’s capitalization is presented for the fiscal years ended December 31:
                                                                                            As of

EXHIBIT 4.5 – OBLIGATED GROUP CAPITALIZATION
                                                                            12-31-2018                  12-31-2019
$ PRESENTED IN MILLIONS UNLESS NOTED
Obligated Group
Long-Term Indebtedness                                                                  $6,422                       $6,362
Less: Current Portion of Long-Term Debt                                                    296                           81
Net Long-Term Debt                                                                       6,126                        6,281
Net Assets – Unrestricted                                                               11,739                       12,911
Total Capitalization                                                                  $17,865                      $19,192

Long-Term Debt to Capitalization %                                                        34.3                         32.7




                                                            15
         The System’s coverage of Maximum Annual Debt Service (         ) on indebtedness is presented
for the fiscal years ended December 31 (footnote appears beneath Exhibit 4.7):
                                                                                             As of

   EXHIBIT 4.6 – SYSTEM DEBT SERVICE COVERAGE
                                                                             12-31-2018                12-31-2019
   $ PRESENTED IN MILLIONS UNLESS NOTED
   Income Available for Debt Service:
   (Deficit) Excess of Revenues Over Expenses                                           $(445)                      $1,358
   Plus: Unrealized Losses/Less: Unrealized Losses (Gains) on
   Trading Securities                                                                      652                       (978)
   Plus: Loss on Extinguishment of Debt                                                      6                         14
   Plus: Loss on Pension Settlement Costs and Other                                         26                         26
   Plus: Depreciation                                                                     1,082                      1,077
   Plus: Interest and Amortization                                                         278                        268
   Total                                                                               $1,599                       $1,765

   Debt Service Requirements: (1)
   MADS                                                                                   $390                       $390
   Coverage of Debt Service Requirements                                                   4.1x                       4.5x




     The Obligated Group’s coverage of MADS on indebtedness is presented for the fiscal years ended
December 31:
                                                                                             As of

   EXHIBIT 4.7 – OBLIGATED GROUP DEBT SERVICE COVERAGE
                                                                             12-31-2018                12-31-2019
   $ PRESENTED IN MILLIONS UNLESS NOTED
   Obligated Group
   Income Available for Debt Service:
   Excess of Revenues Over Expenses                                                       $182                      $1,805
   Plus: Unrealized Losses/Less: Unrealized Losses (Gains) on
   Trading Securities                                                                      559                       (834)
   Plus: Loss on Extinguishment of Debt                                                      6                         14
   Plus: Loss on Pension Settlement Costs and Other                                         30                         26
   Plus: Depreciation                                                                     1,010                       999
   Plus: Interest and Amortization                                                         264                        254
   Total                                                                               $2,051                       $2,264

   Debt Service Requirements: (1)
   MADS                                                                                   $390                       $390
   Coverage of Debt Service Requirements                                                  5.3x                        5.8x
       (1)
            Debt Service Requirements has the meaning assigned to such term in the Master Indenture.




                                                                16
System Governance and Management


         Providence serves as the parent and corporate member of PH&S and SJHS. Providence was
created in connection with the combination of the multi-state health care systems of PH&S and the SJHS,
which was effective on July 1, 2016 (the                      ). Providence has been determined to be an
organization that is exempt from federal income taxation under Section 501(c)(3) of the Internal Revenue
Code. Prior to the Combination, the sole corporate member of PH&S was Providence Ministries, which
acted through its sponsors, who are five individuals appointed by the Provincial Superior of the Sisters of
Providence, Mother Joseph Province. Similarly, the sole corporate member of SJHS was St. Joseph
Health Ministry, a California non-profit public benefit corporation. Providence Ministries and St. Joseph
Health Ministry are each a public juridic person under Canon law, responsible for assuring the Catholic
identity and fidelity to the Mission of their respective systems. Pursuant to the Combination, Providence
Ministries and St. Joseph Health Ministry have entered into an agreement that establishes a sponsorship
model through contractual obligations exercised by the parties’ sponsors collectively (the
         ). The Sponsors Council retains certain reserved rights with respect to Providence. Among the
powers reserved to the Sponsors Council are the following powers over the affairs of Providence
(excluding certain affiliates, such as: Providence – Western Washington, Western HealthConnect,
Swedish, Swedish Edmonds, PacMed, Kadlec and Hoag Hospital): to amend or repeal the articles of
incorporation or bylaws of the Providence; the appointment and removal, with or without cause, of the
directors of Providence; the appointment and removal, with or without cause, of the President and Chief
Executive Officer of Providence; the approval of the acquisition of assets, incurrence of debt, encumbering
of assets and sale of certain property; the approval of operating and capital budgets, upon
recommendation of the Providence Board of Directors; and the approval of dissolution, consolidation or
merger. Providence has reserved rights over PH&S and SJHS, which powers may be exercised by Board
of Providence. Given the complexity of the System’s governance structure, Providence routinely
evaluates and considers alternative governance models to best meet the System’s governance needs.

      The following table lists the current members of the Board of Directors of Providence and the
Sponsors Council.

                                            Term Expires                                          Term Expires
Board of Directors                         (December 31)         Sponsors Council                (December 31)
David Olsen, Chair †                             2021            Eleanor Brewer                     2020
Richard Blair †                                  2020            Ned Dolejsi                        2020
Dick Allen ‡                                     2022            Jeff Flocken                       2025
Isiaah Crawford, PhD ‡                           2022            Barbara Savage                     2020
Lucille Dean, SP †                               2020            Bill Cox                           2022
Diane Hejna, CSJ, RN. ‡                          2022            Russell Danielson                  2027
Phyllis Hughes, RSM, PhD. ‡                      2022            Sr. Sharon Becker, CSJ             2027
Mary Lyons, PhD. ‡                               2022            Mark Koenig                        2027
Carolina Reyes, M.D. ‡                           2022            Sr. Margaret Pastro, SP            2028
Phoebe Yang ‡                                    2022            Sr. Mary Therese Sweeney, CSJ      2028
Charles W. Sorenson, M.D.                        2021
Lydia M. Marshall                                2021
Michael Murphy                                   2022
Katharin S. Dyer                                 2022
Rod Hochman, M.D.                              Ex-officio
_________________________________
†
  Not eligible for an additional term.
‡
    Eligible for one additional three-year term.
    Eligible for up to two.




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        The following are key members of Providence’s executive leadership team.

Name                            Title
Rod Hochman, M.D.               President and CEO
Mike Butler                     President of Operations and Strategy
Venkat Bhamidipati              EVP and CFO




        Corporate officers and supporting staff oversee the management activities carried on, on a day-
to-day basis, by the management staff of each region. Each regional Chief Executive reports to the
President of Operations, who oversees their management with emphasis on the service area’s
achievements in responding to unmet health care needs in the community, especially the unmet needs
of the poor and vulnerable, productivity, developing integrated delivery systems, meeting financial
guidelines, and maintaining or increasing market share. The Chief Financial Officer of Providence and
Finance staff coordinate the annual budget and multi-year forecasts of the service areas, and manage
the capital acquisition and management activities of the Obligated Group. Other areas in which the
corporate staff provides centralized services or coordinates the activities of the service areas include:
legal affairs, insurance and risk management, treasury services, materials management, technical
support, fund raising, quality of care, medical ethics, pastoral services, mission effectiveness, human
resources, planning and policy development, and public affairs.



          In addition to the Obligated Group Members, the System includes: health plans; a provider
network; numerous fundraising foundations; Providence Ventures, Inc., a Washington corporation that
invests in health care activities; various not-for-profit corporations that own and operate assisted living
facilities and low-income housing projects, including housing facilities for the elderly; and the University
of Providence formerly known as University of Great Falls, located in Great Falls, Montana. The System
also includes multiple operations involving or supporting home health, outpatient surgery, imaging
services and other professional services provided through for-profit and non-profit entities that are not
part of the Obligated Group. These entities are organized as subsidiaries of the System, partnerships or
joint ventures with other entities. Obligated Group Members also may engage in informal alliances and/or
contract-based physician relationships. Affiliates that are not Obligated Group Members are referred to in
this Annual Report as the Non-Obligated Group System Affiliates. Certain Non-Obligated Group System
Affiliates that are of significant operational or strategic importance and other Non-Obligated Group System
Affiliates are discussed elsewhere in this Annual Report only to the extent they are viewed by System
management to be of particular operational or strategic importance.

Control of Certain Obligated Group Members


      Providence is the sole corporate member of PH&S and SJHS. PH&S is the sole corporate
member, directly or indirectly, of each of Providence – Washington, Providence – Southern California,
LCMASC, Providence – St. John’s, Providence – SJMC Montana, Providence – Montana, Providence –
Oregon, Swedish, Swedish Edmonds, Pac Med, Western Health Connect and Kadlec, and co-corporate
member of Providence – Western Washington.

       SJHS is the sole corporate member of SJHNC and, as more fully described hereinafter, a
corporate member of St. Joseph Orange, St. Jude, Mission Hospital, St. Mary and CHS.




                                                     18
        SJHS is the sole member of St. Joseph Health Northern California, LLC, which, operates the
hospital facilities known as Santa Rosa Memorial Hospital, Queen of the Valley Medical Center, St.
Joseph Hospital of Eureka, and Redwood Memorial Hospital. The corporate entities of Santa Rosa
Memorial Hospital, Queen of the Valley Medical Center, St. Joseph Hospital of Eureka and Redwood
Memorial Hospital, each a California nonprofit public benefit corporation (collectively, the “   ”)
transferred their assets to SJHNC effective as of April 1, 2018. Effective December 31, 2019 the
remaining corporate entities in connection with this reorganization were dissolved.



       In connection with the March 2013 affiliation of SJHS and Hoag Hospital, a new entity known as
Covenant Health Network, Inc. (        ), a California nonprofit public benefit corporation, was created.
CHN is a corporate member of Hoag Hospital and St. Joseph Orange, St. Jude, Mission Hospital and
St. Mary (the                                       ). CHN, The George Hoag Family Foundation (Hoag
Family Foundation) and the constituent churches of the Los Ranchos Presbytery of the Presbyterian
Church (USA), as represented by the Association of Presbyterian Ministers (APM), are the corporate
members of Hoag Hospital. None of CHN, Hoag Family Foundation or APM is an Obligated Group
Member, or is obligated for payment with respect to the Bonds.

        SJHS, CHN, Hoag Hospital and the SJHS Southern California Hospitals entered into an affiliation
pursuant to the terms of an Affiliation Agreement dated as of October 15, 2012 (the
            ). The CHN Affiliation Agreement, which became effective as of March 1, 2013, is designed
to allow SJHS and each of the SJHS Southern California Hospitals on the one hand, and Hoag Hospital
on the other hand, to preserve their respective Catholic and Presbyterian heritages and identities while
creating an integrated community health care delivery system. The Affiliation Agreement was amended
as of June 1, 2017 and Providence became a party to the arrangement. In addition, a Supplemental
Agreement and two amendments were also entered into between the parties in 2017.

        CHN does not have any corporate members, and neither Providence, SJHS, its affiliates, nor
Hoag Hospital have any ownership interest in CHN. CHN’s governing board consists of seven members,
four of whom are designated by Providence in its sole discretion from persons who are members of the
governing boards of SJHS, SJHS Southern California Hospitals, St. Joseph Health Ministry and/or Sisters
of St Joseph of Orange, and/or members of Providence or SJHS management. The remaining three
members are designated by Hoag Family Foundation and APM, acting jointly, in their sole discretion from
members of the governing board of Hoag Hospital. The CHN board provides strategic planning leadership
and oversight for the Southern California region.

        CHN and SJHS have certain reserved powers with respect to the governance, management and
operation of each of the SJHS Southern California Hospitals and Hoag Hospital. Some of these powers
may be exercised only by a supermajority vote of the CHN Board of Directors, meaning the affirmative
vote of at least three of the four members designated by Providence, and of at least two of the three
members designated by Hoag Family Foundation and APM. Such reserved powers and powers that
require a supermajority vote may be reviewed and revised from time to time. These reserved powers
include, among others, certain actions relating to: (i) changes in articles and bylaws, (ii) certain board
member and management appointments and removals; and (iii) certain hospital mergers, acquisitions,
joint ventures, asset sales, cash transfers and financings. Hoag Family Foundation and APM also have
reserved powers with respect to certain management and operating matters and transactions involving
Hoag Hospital.



       SJHS and Lubbock Methodist Hospital System (            ) are the corporate members of CHS.
CHS is the sole corporate member of CMC, Covenant Levelland and Covenant Plainview. LMHS is not
an Obligated Group Member and is not obligated for payment with respect to the Bonds.



                                                    19
         CHS was formed in 1998 pursuant to an affiliation between SJHS and LMHS and its affiliates,
pursuant to which CHS became the sole corporate member of certain entities previously affiliated with
LMHS and, together with certain of such entities, joined the obligated group to which SJHS and its
affiliates were party.

        CHS is governed by a 19-member board of directors. LMHS and SJHS each appoint eight
directors. SJHS also appoints the Chief Executive Officer of CHS, who is an ex-officio voting director.
The CMC Chief of Staff and Covenant Children’s Hospital Chief of Staff also serve as ex-officio voting
directors. SJHS has extensive authority with respect to the financial affairs of CHS and its subsidiaries,
including, but not limited to, the approval of budgets of CHS and its subsidiaries and selection and
retention of auditors.

         As part of the affiliation, SJHS, CHS and LMHS entered into an agreement that significantly
restricts the ability of SJHS to sever its relationship with CHS and the entities formerly affiliated with
LMHS. Under certain circumstances, it also restricts CHS and SJHS from a wide variety of transactions
(the                           ), including: (i) certain management agreements, leases, joint ventures and
other transactions that might have the effect of transferring control of Covenant Medical Center or all
assets of CHS and its subsidiaries to an unrelated third party, or in a manner that voids or reduces LMHS’s
right, as a member, to appoint directors; (ii) a sale, transfer or conveyance of all or substantially all of
CHS’ assets (including all of CHS’ affiliates, taken in the aggregate); (iii) an affiliation, management
agreement, lease or joint venture under which a third party acquires the right to control CHS, as a whole;
or (iv) any other transaction in which the ability to appoint and remove more than 50 percent of the
directors of CHS is transferred to a third party.

        In the event SJHS or CHS undertakes a Covered Transaction, they are obligated to provide notice
and information to LMHS and to make a “reciprocal offer” to LMHS, including an offer to purchase LMHS’s
membership rights in CHS and a simultaneous obligation to offer CHS' membership rights to LMHS at the
same purchase price, adjusted upward by a formula that reflects the dissolution percentages Pursuant to
the terms of the affiliation, the dissolution percentages are SJHS – 57 percent; LMHS – 43 percent.

Other Information


         As of December 31, 2019, the System had Obligations outstanding under the Master Indenture
totaling $6,105,000,000. This excludes Obligations that secure interest rate or other swap transactions,
bank liquidity or credit facilities. The Obligations outstanding under the Master Indenture relating to tax-
exempt and taxable bond/note indebtedness are described further in the Note 7 to the Combined Audited
Financial Statements for the fiscal year ended December 31, 2019.
        Certain of the outstanding Obligations secure tax-exempt bonds previously issued for the benefit
of one or more Obligated Group Members (collectively, the                                       ) that were
purchased directly by commercial banks. Certain other of the outstanding Obligations secure taxable
loans and lines of credit previously incurred on behalf of the Obligated Group (the                   ) from
one or more commercial banks or a syndicate of banks. Certain other of the outstanding Obligations
secure payment obligations relating to bank liquidity or letter of credit facilities (the                   )
issued by credit banks to secure the payment of principal of, interest on and purchase price for certain
tax-exempt and taxable bonds issued for the benefit of, or by, certain Obligated Group Members. The
financial covenants relating to the Direct Placement Bonds, the Taxable Loans and the Credit Facilities
are substantially consistent with the covenants in the Master Indenture. In addition to financial covenants,
the Direct Placement Bonds, the Taxable Loans and the Credit Facilities include events of default that
may cause an acceleration of the Obligations secured thereby, and, in turn, all Obligations secured by the
Master Indenture. Certain documents relating to the Direct Placement Bonds, the Taxable Loans and the
Credit Facilities containing these financial covenants and events of default are available for review on
EMMA (http://emma.msrb.org).




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         The System and/or certain of its affiliates may enter into interest rate swap contracts from time to
time to increase or decrease variable rate debt exposure, to achieve a targeted mix of fixed and floating
rate indebtedness and for other purposes.

        At December 31, 2019, SJHS was party to seven interest rate swap agreements with a current
notional amount totaling approximately $436 million and with varying expiration dates. The swap
agreements require SJHS to make fixed rate payments in exchange for variable rate payments made by
the counterparties. SJHS’s payment obligations under such swap agreements are secured by Obligations
issued under the Master Indenture.
         Below is a summary of those swap agreements, including the fair value of the swaps as of
December 31, 2019. Fair values are based on independent valuations obtained and are determined by
calculating the value of the discounted cash flows of the differences between the fixed interest rate of the
interest rate swaps and the counterparty’s forward London Interbank Offered Rate curve, which is the
input used in the valuation, also taking into account any nonperformance risk. Changes in the fair value
of the interest rate swaps are included within non-operating gains and losses. See also the discussion
under “Other Information - Interest Rate Swap Agreements” and Note 7 to the Combined Audited Financial
Statements for the fiscal year ended December 31, 2019.

 DESCRIPTION       NOTIONAL         TERM       COUNTERPARTY          RECEIVE           PAY        FAIR VALUE

                                                                  68% of 3 Month
  Fixed Payor      $13,550,000      Jul-21      Morgan Stanley                        3.305%       ($288,000)
                                                                      LIBOR
                                                                  68% of 3 Month
  Fixed Payor      $2,200,000       Jul-20      Morgan Stanley                        3.189%        ($22,000)
                                                                      LIBOR
                                                                  68% of 3 Month
  Fixed Payor     $173,310,000      Jul-47        MUFG Union                          3.529%      ($59,788,000)
                                                                      LIBOR
                                                                  68% of 3 Month
  Fixed Payor      $46,015,000      Jul-47        Wells Fargo                         3.520%      ($15,358,000)
                                                                      LIBOR
                                                                 55.70% of 1 Month
  Fixed Payor      $64,700,000      Dec-40        Wells Fargo                         3.229%      ($13,604,000)
                                                                  LIBOR + 0.23%
                                                                 55.70% of 1 Month
  Fixed Payor      $64,750,000      Dec-40        Wells Fargo                         3.229%      ($13,588,000)
                                                                  LIBOR + 0.23%
                                                                 55.70% of 1 Month
  Fixed Payor      $71,510,000      Dec-40        Wells Fargo                         3.229%      ($15,034,000)
                                                                  LIBOR + 0.23%

         Entering into derivative agreements including those described above creates a variety of risks to
the System. Pursuant to certain of these agreements, both SJHS and the counterparty are required to
deliver collateral in certain circumstances in order to secure their respective obligations under the
agreements. As of December 31, 2019, SJHS posted collateral in the amount of approximately
$15,322,000. The amount of collateral delivered by SJHS over the term of the agreements could increase
or decrease based upon SJHS’ credit ratings and movements of United States dollar swap rates and
could be substantial. Under certain circumstances, the derivative agreements are subject to termination
prior to their scheduled termination date and prior to the maturity of the related revenue bonds. Payments
due upon early termination may be substantial. In the event of an early termination of an agreement,
there can be no assurance that (i) SJHS or any other Obligated Group Member will receive any
termination payment payable to it by the provider, (ii) SJHS or any other Obligated Group Member will
have sufficient amounts to pay a termination payment payable by it to the provider, or (iii) SJHS or the
other Obligated Group Members will be able to obtain a replacement agreement with comparable terms.
For financial reporting purposes, the System has generally not treated its swap agreements as effective
hedges against the interest cost of underlying debt. To the extent that swaps are not treated as effective
hedges, the System must recognize any changes in the fair market value of the swaps agreements and
the related debt as non-operating gains or losses. See Note 7 to the Combined Audited Financial
Statements for the fiscal year ended December 31, 2019 attached to this Annual Report.




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        Certain material litigation may result in an adverse outcome to the Obligated Group. Obligated
Group Members are involved in litigation and regulatory investigations arising in the course of doing
business. After consultation with legal counsel, except as described below, management estimates that
these matters will be resolved without material adverse effect on the Obligated Group’s future
consolidated financial position or results of operations.

       In 2019, the U.S. Department of Justice served Swedish Health Services with a Civil Investigative
Demand requesting documents pertaining to certain arrangements and joint ventures and physician
organizations. Swedish is cooperating with the Department and compiling the responsive documents.

        A number of civil actions are pending or threatened against certain affiliates, including Obligated
Group Members, alleging medical malpractice. In the opinion of management of Providence, based upon
the advice of legal counsel and risk management personnel, the currently estimated costs and related
expenses of defense will be within applicable insurance limits or will not materially adversely affect the
financial condition or operations of the System.



        As of December 31, 2019, the System included approximately 116,000 employed caregivers
(excluding Hoag), representing 104,780 FTEs. Of the total employees in the System, approximately 32
percent are represented by 19 different labor unions.

        Providence management provides market-competitive salaries and benefits to all employees in
all markets. Management of Providence believes the salary levels and benefits packages for its
employees are competitive in all of the respective markets. At the same time, management understands
that the health care industry is rapidly evolving. The leadership of each of the separate employers within
the System is working to ensure the compensation and benefits are modern and reflect competitive market
practices. This will require continued negotiations at the various employers within the System throughout
2020. In the past two years, the System has experienced strikes at different facilities, as a result of
contract negotiations. In each situation, the facility operated with qualified replacement employees and
did not experience any disruption to hospital operations or patient service, and, ultimately settled the
contracts. Management is also aware of ongoing organizing efforts by labor unions within the health care
industry, including in markets where the separate employers within the System operates.



          Informed by our community health needs assessments, we make strategic proactive investments
in community-focused health and social service programs, health professions education, and research
directly responding to unmet needs. In addition, we provide free and discounted care for the uninsured
and underinsured to ensure vital access. We also cover the unpaid cost of Medicaid as we care for
individuals covered by Medicaid in the communities we serve across seven states.

          Building on our commitment to care for those who are poor and vulnerable, we have invested $1.5
billion in community benefit in the fiscal year ended December 31, 2019, compared with $1.6 billion in the
same period in 2018. Community benefit spending related to the unpaid costs of Medicaid was $816
million for the fiscal year ended December 31, 2019, compared with $927 million for the same period in
2018. While we decreased the uncompensated costs of Medicaid by $111 million, we served thousands
more patients covered by the program.



        Providence has developed insurance programs that provide coverage for the vast majority of
insurable risks. The program uses benchmarking and insurance analytics to guide its decisions regarding
both the type of coverage it purchases and the limits of that insurance. The analytics use claims and
historical data to estimate the likelihood of certain events occurring such as an earthquake or an anti-trust

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claim. The premium for an additional limit can then be compared to the probability of the event to pinpoint
when the purchase of an additional insurance limit no longer provides a value to the System. The
insurance team and brokers negotiate almost all of the policies directly to obtain the most favorable terms
of coverage possible. Policies are also reviewed to ensure no coverage gaps – what is excluded in one
policy must be covered by a different policy. Insurers must have an A rating or better from A.M. Best to
be on the System program. Management meets with most of its underwriters at least once a year to obtain
updates on any changes in business strategy or capacity. Providence currently self-insures a portion of
its professional and general liability. Such claims are paid through trust arrangements which are funded
to a 75 percent confidence level based on projections from outside independent actuaries. The major
lines of insurance that are renewed yearly include property, directors and officers, employment practices,
auto, fiduciary, cyber/information security, workers’ compensation, crime, and aviation.



        As described more completely under the caption “Retirement Plans” in Note 8 to the combined
audited financial statements included in Exhibit 6, the System currently sponsors defined benefit and
contribution plans. Although the System had certain defined benefit plans in place prior to January 1,
2010, in April 2009, the PH&S Board of Directors approved a freeze of the existing defined benefit plans,
a cap on the ongoing cash balance interest credit formula, and the implementation of new defined
contribution plans referenced within Note 8, all effective December 31, 2009.

        The System’s remaining unfunded liability with respect to the defined benefit plans increased from
approximately 58 percent at December 31, 2018 to 61 percent at December 31, 2019. The increase in
the unfunded liability occurred primarily due to a change in the valuation discount rate. The System’s
contribution to the defined benefit plans was approximately $100 million and $99 million at December 31,
2019 and 2018, respectively.

         The System sponsors various defined contribution retirement plans that cover substantially all
employees. The plans provide for employer matching contributions in an amount equal to a percentage
of employee pretax contributions, up to a maximum amount. In addition, the System makes contributions
to eligible employees based on years of service. Retirement expense related to these plans was $500
million and $513 million in December 31, 2019 and 2018, respectively, and is reflected in salaries and
benefit expense in the accompanying combined statements of operations.



        The System’s acute care hospital facilities are appropriately licensed by applicable state licensing
agencies, certified for Medicare and Medicaid/Medi-Cal reimbursement, and (except Covenant Levelland,
Providence Seward Medical Center, Providence Valdez Medical Center and Swedish Issaquah)
accredited by The Joint Commission. Each long-term care facility or unit is licensed by applicable state
licensing agencies and is appropriately certified for Medicare and Medicaid/Medi-Cal reimbursement.




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Glossary of Terms
                    Obligated Group Members, Designated Affiliates, and Limited Credit Group Participants
                    and Unlimited Credit Group Participants, collectively.

                    Obligated Group Members under the Master Indenture and currently:

                    Providence                                     St. Joseph Orange
                    PH&S                                           St. Jude
                    Providence – Washington                        Mission Hospital
                    Providence – Southern California               St. Mary
                    LCMASC                                         Hoag Hospital
                    Providence – Saint John’s                      SJHNC
                    Providence – SJMC Montana                      Queen of the Valley
                    Providence – Montana                           Santa Rosa Memorial
                    Providence – Oregon                            St. Joseph Eureka
                    Providence – Western Washington                Redwood Memorial
                    Swedish                                        CHS
                    Swedish Edmonds                                CMC
                    PacMed                                         Covenant Children’s
                    Western HealthConnect                          Covenant Levelland
                    Kadlec                                         Covenant Plainview
                    SJHS

                    Designated Affiliates under the Master Indenture. There are currently no Designated
                    Affiliates.

                    Limited Credit Group Participants under the Master Indenture. There are currently no
                    Limited Credit Group Participants.

                    Unlimited Credit Group Participants under the Master Indenture. There are currently no
                    Unlimited Credit Group Participants.


                    Covenant Health System, a Texas nonprofit corporation and currently an Obligated
                    Group Member.

                    Covenant Medical Center, a Texas nonprofit corporation and currently an Obligated
                    Group Member.

                    Methodist Children’s Hospital, a Texas nonprofit corporation and currently an Obligated
                    Group Member, doing business as Covenant Children’s Hospital.

                    Methodist Hospital Levelland, a Texas nonprofit corporation and currently an Obligated
                    Group Member, doing business as Covenant Lovelland Hospital.

                    Methodist Hospital Plainview, a Texas nonprofit corporation and currently an Obligated
                    Group Member, doing business as Covenant Plainview Hospital.

                    Hoag Memorial Hospital Presbyterian, a California nonprofit public benefit corporation
                    and currently an Obligated Group Member.

                    Kadlec Regional Medical Center, a Washington nonprofit corporation and currently an
                    Obligated Group Member.

                    Little Company of Mary Ancillary Services Corporation, a California nonprofit public
                    benefit corporation and currently an Obligated Group Member.

                    Mission Hospital Regional Medical Center, a California nonprofit public benefit
                    corporation and currently an Obligated Group Member.

                    PacMed Clinics, a Washington nonprofit corporation and currently an Obligated Group
                    Member.

                    Providence Health & Services, a Washington nonprofit corporation and currently an
                    Obligated Group Member.


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Providence Health & Services – Montana, a Montana nonprofit corporation and currently
an Obligated Group Member.

Providence Health & Services – Oregon, an Oregon nonprofit corporation and currently
an Obligated Group Member.

Providence Saint John’s Health Center, a California nonprofit religious corporation and
currently an Obligated Group Member.

Providence St. Joseph Medical Center, a Montana nonprofit corporation and currently an
Obligated Group Member.

Providence Health System – Southern California, a California nonprofit religious
corporation and currently an Obligated Group Member.

Providence Health & Services – Washington, a Washington nonprofit corporation and
currently an Obligated Group Member.

Providence Health & Services – Western Washington, a Washington nonprofit corporation
and currently an Obligated Group Member.

Providence St. Joseph Health, a Washington nonprofit corporation and currently an
Obligated Group Member and the Obligated Group Agent.


Queen of the Valley Medical Center, a California nonprofit public benefit corporation and
currently an Obligated Group Member.

Redwood Memorial Hospital of Fortuna, a California nonprofit public benefit corporation
and currently an Obligated Group Member.

Santa Rosa Memorial Hospital, a California nonprofit public benefit corporation and
currently an Obligated Group Member.

St. Joseph Health Northern California, LLC, a California limited liability company and
currently an Obligated Group Member.

St. Joseph Health System, a California nonprofit public benefit corporation and currently
an Obligated Group Member.

St. Joseph Hospital of Eureka, a California nonprofit public benefit corporation and
currently an Obligated Group Member.

St. Joseph Hospital of Orange, a California nonprofit public benefit corporation and
currently an Obligated Group Member.

St. Jude Hospital, Inc., a California nonprofit public benefit corporation and currently an
Obligated Group Member, doing business as St. Jude Medical Center.

St. Mary Medical Center, a California nonprofit public benefit corporation and currently
an Obligated Group Member.

Swedish Health Services, a Washington nonprofit corporation and currently an Obligated
Group Member.

Swedish Edmonds, a Washington nonprofit corporation and currently an Obligated Group
Member.

Providence and all entities that are included within the combined financial statements of
Providence.

Western HealthConnect, a Washington nonprofit corporation and currently an Obligated
Group Member.




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                                  Exhibit 5 – Obligated Group Facilities

                                               Exhibit 5.1
                                      Acute Care Facilities by Region

        A list of the System’s acute care facilities in each region as of December 31, 2019, each of which
 is owned or operated by an Obligated Group Member, is provided in EXHIBIT 5.1 below.

                                                                                               Licensed Acute
Region          Obligated Group Member      Facility                           Location(s)     Care Beds*
Alaska
                Providence Health &         Providence Alaska Medical
                Services-Washington         Center                             Anchorage                        401
                                            Providence Kodiak Island
                                            Medical Center(1)                  Kodiak                            25
                                            Providence Seward Medical and
                                            Care Center(1)                     Seward                            6
                                            Providence Valdez Medical
                                            Center(1)                          Valdez                            11
Swedish
                Swedish Edmonds             Swedish Edmonds(2)                 Edmonds                          217
                                            Swedish Medical Center
                                            Campuses(3):
                Swedish Health Services     Swedish Ballard                    Ballard                          133
                                            Swedish Issaquah                   Issaquah                         175
                                            Swedish Cherry Hill                Seattle                          385
                                            Swedish First Hill                 Seattle                          697
Washington and Montana
                Providence Health &
                Services-Washington         Providence Centralia Hospital      Centralia                        128
                                            Providence Regional Medical
                                            Center Everett                     Everett                          530
                                            Providence St. Peter Hospital(4)   Olympia                          390

                Providence Health &         Providence St. Joseph’s
                Services-Washington         Hospital                           Chewelah                          65
                                            Providence Mount Carmel
                                            Hospital                           Colville                          55
                                            Providence Sacred Heart
                                            Medical Center and Children’s
                                            Hospital                           Spokane                          691
                                            Providence Holy Family Hospital    Spokane                          197
                                            Providence St. Mary Medical
                                            Center                             Walla Walla                      142
                Kadlec Regional Medical
                Center                      Kadlec Regional Medical Center     Richland                         337
                Providence Health &
                Services-Montana            St. Patrick Hospital               Missoula (MT)                    253
                Providence St. Joseph       Providence St. Joseph Medical
                Medical Center              Center                             Polson (MT)                       22
Oregon
                Providence Health &         Providence Hood River
                Services-Oregon             Memorial Hospital                  Hood River                        25
                                            Providence Medford Medical
                                            Center                             Medford                          168
                                            Providence Milwaukie Hospital      Milwaukie                         77
                                            Providence Newberg Medical
                                            Center                             Newberg                           40
                                            Providence Willamette Falls
                                            Medical Center                     Oregon City                      143
                                            Providence St. Vincent Medical
                                            Center                             Portland                         523
                                            Providence Portland Medical
                                            Center                             Portland                         483
                                            Providence Seaside Hospital(5)     Seaside                           25



                                                       26
                                                                                                                     Licensed Acute
Region              Obligated Group Member                 Facility                               Location(s)        Care Beds*
Northern California
                    St. Joseph Health Northern
                    California, LLC.                       St. Joseph Hospital                    Eureka                               153
                                                           Redwood Memorial Hospital              Fortuna                               35
                                                           Queen of the Valley Medical
                                                           Center                                 Napa                                 208
                                                           Santa Rosa Memorial Hospital           Santa Rosa                           298
Southern California
                   Providence Health System-               Providence St. Joseph Medical
                   Southern California                     Center                                 Burbank                              392
                                                           Providence Holy Cross Medical
                                                           Center                                 Mission Hills                        329
                                                           Providence Little Company of
                                                           Mary Medical Center San Pedro          San Pedro                            183
                                                           Providence Tarzana Medical
                                                           Center                                 Tarzana                              249
                                                           Providence Little Company of
                                                           Mary Medical Center Torrance           Torrance                             327
                        Providence Saint John’s            Providence Saint John’s Health
                        Health Center                      Center                                 Santa Monica                         266
                        St. Mary Medical Center            St. Mary Medical Center                Apple Valley                         213
                        St. Jude Medical Hospital,
                        Inc.                               St. Jude Medical Center                Fullerton                            320
                                                           Mission Hospital Regional
                                                           Medical Center Campuses(6):                                                 523
                        Mission Hospital Regional          Mission Hospital Regional
                        Medical Center                     Medical Center                         Mission Viejo
                                                           Mission Hospital Laguna Beach          Laguna Beach
                                                           Hoag Memorial Hospital
                                                           Presbyterian Campuses(7):                                                   518
                        Hoag Memorial Hospital             Hoag Memorial Hospital
                        Presbyterian                       Presbyterian                           Newport Beach
                                                           Hoag Hospital Irvine                   Irvine
                        St. Joseph Hospital of
                        Orange                             St. Joseph Hospital of Orange(8)       Orange                               463
Texas

                        Methodist Hospital Levelland       Covenant Hospital Levelland            Levelland                             48
                                                           CHS Campuses:                                                               381
                        Covenant Health System             Covenant Medical Center                Lubbock
                                                           Covenant Medical Center -
                                                           Lakeside                               Lubbock
                                                           Grace Medical Center                   Lubbock                              123
                        Methodist Children's Hospital      Covenant Children’s Hospital           Lubbock                              275
                        Methodist Hospital Plainview       Covenant Hospital Plainview            Plainview                             68

TOTAL                                                                                                                                11,716

* Includes all acute care licensure categories except for normal newborn bassinettes and partial hospitalization psychiatric beds
(1)
      Leased and/or managed by Providence – Washington
(2)
      The legal entity Swedish Edmonds operates the hospital under a lease with Public Hospital District No. 2 of Snohomish County
(3)
      Four campuses with three licenses
(4)
      Includes a 50-bed chemical dependency center
(5)
      Leased to and managed by Providence – Oregon
(6)
      Two campuses on one license, including 36 acute care psychiatric beds in Laguna Beach
(7)
      Two campuses on one license
(8)
      Includes 37 acute care psychiatric beds




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       The System’s principal owned or leased long-term care facilities as of December 31, 2019 is
shown in EXHIBIT 5.2 is the table below.

                                                      Exhibit 5.2
                                           Long-Term Care Facilities by Region

                                                                                                         Licensed
                                                                                                         Long-Term
Region         Obligated Group Member       Facility                                     Location(s)     Care Beds


Alaska
               Providence Health &
               Services-Washington          Providence Kodiak Island Medical Center(1)   Kodiak                       22
                                            Providence Seward Medical and Care
                                            Center(1)                                    Seward                       40
                                            Providence Valdez Medical Center(1)          Valdez                       10
                                            Providence Extended Care                     Anchorage                    96
                                            Providence Transitional Care Center          Anchorage                    50
Washington and Montana

               Providence Health &
               Services-Washington          Providence Marionwood                        Issaquah                    117
                                            Providence Mother Joseph Care Center         Olympia                     152
                                            Providence Mount St. Vincent                 Seattle                     215
               Providence Health &
               Services-Washington          Providence St. Joseph Care Center            Spokane                     113

Oregon
               Providence Health &
               Services-Oregon              Providence Benedictine Nursing Center(2)     Mt. Angel                    98
                                            Providence Child Center                      Portland                     58

Northern California

               St. Joseph Health
               Northern California, LLC.    Santa Rosa Memorial Hospital                 Santa Rosa                   31

Southern California

               Providence Health
               System-Southern
               California                   Providence Holy Cross Medical Center         Mission Hills                48
                                            Providence Little Company of Mary
                                            Subacute Care Center San Pedro               San Pedro                   125
                                            Providence Little Company of Mary
                                            Transitional Care Center                     Torrance                    115
                                                                                         North
                                            Providence St. Elizabeth Care Center         Hollywood                    52
Texas
               Covenant Health System       Covenant Long-term Acute Care                Lubbock                      56

TOTAL                                                                                                           1,398
(1)
      Leased and/or managed by Providence – Washington
(2)
      Also includes 15 adult foster care units




                                                             28
Exhibit 6 – Supplementary Information and Audited Consolidated Financial Statements



                                  [ATTACHED]




                                        29
EXHIBIT 6.1 - SUMMARY AUDITED COMBINED STATEMENTS OF OPERATIONS


                                                                      Ended December 31, 2019                      Ended December 31, 2018
                                                                          (in 000's of dollars)                        (in 000's of dollars)
                                                                   Consolidated            Obligated            Consolidated            Obligated
Operating Revenues:
  Net Patient Service Revenues                                 $       19,882,771             18,942,163            18,997,848             18,327,589
  Premium Revenues                                                      2,375,699                   218,721          2,980,937                  189,208
  Capitation Revenues                                                   1,514,449                   682,235          1,378,117                  562,518
  Other Revenues                                                        1,252,498                 1,131,482          1,071,354                 1,016,425
     Total Operating Revenues                                          25,025,417             20,974,601            24,428,256             20,095,740


Operating Expenses:
  Salaries and Benefits                                                12,172,125             10,867,963            11,882,729             10,642,687
  Supplies                                                              3,697,745                 3,422,267          3,562,637                 3,311,462
  Purchased Healthcare Services                                         2,049,290                   390,689          2,413,977                  234,808
  Interest, Depreciation, and Amortization                              1,344,735                 1,253,021          1,360,025                 1,273,213
  Purchased Services, Professional Fees, and Other                      5,388,494                 4,049,638          5,043,347                 3,866,686
     Total Operating Expenses Before Restructuring Costs               24,652,389             19,983,578            24,262,715             19,328,856


     Excess of Revenues Over Expenses from Operations Before
     Restructuring Costs                                                  373,028                   991,023            165,542                  766,885
  Restructuring Costs                                                     158,729                   158,729            162,146                  162,146

     Excess of Revenues Over Expenses From Operations                     214,299                   832,294              3,396                  604,739
  Net Non-operating Gains (Losses)                                      1,144,047                   972,747           (447,788)                (422,537)
     Excess (Deficit) of Revenues Over Expenses                $        1,358,346                 1,805,041           (444,393)                 182,201




EXHIBIT 6.2 - SUMMARY AUDITED COMBINED STATEMENTS OF CASH FLOWS

                                                                      Ended December 31, 2019                      Ended December 31, 2018
                                                                          (in 000's of dollars)                        (in 000's of dollars)
                                                                   Consolidated            Obligated            Consolidated            Obligated


Net Cash Provided by Operating Activities                      $          963,361                 2,457,092          1,348,012                 1,834,510
Net Cash Used in Investing Activities                                  (1,474,810)                (2,325,152)       (1,233,858)                (884,078)
Net Cash Provided by (Used in) Financing Activities                       230,261                  (525,550)           112,054                 (710,270)
(Decrease) Increase in Cash and Cash Equivalents                         (281,188)                 (393,610)           226,208                  240,162


Cash and Cash Equivalents, Beginning of Period                          1,597,397                 1,027,088          1,371,189                   786,926


Cash and Cash Equivalents, End of Period                       $        1,316,209                   633,478          1,597,397                 1,027,088




EXHIBIT 6.3 - SUMMARY AUDITED NET PATIENT REVENUE PAYOR MIX

                                                                      Ended December 31, 2019                      Ended December 31, 2018
                                                                          (in 000's of dollars)                        (in 000's of dollars)
                                                                   Consolidated            Obligated            Consolidated            Obligated


Commercial                                                                    50%                       49%                49%                      49%
Medicare                                                                      32%                       32%                32%                      32%
Medicaid                                                                      15%                       16%                17%                      16%
Self-pay and Other                                                                3%                     3%                    2%                    3%




                                                                               30
EXHIBIT 6.4 - SUMMARY AUDITED COMBINED BALANCE SHEETS



                                                           As of December 31, 2019                     As of December 31, 2018
                                                               (in 000's of dollars)                      (in 000's of dollars)
                                                       Consolidated             Obligated           Consolidated           Obligated
Current Assets:
  Cash and Cash Equivalents                        $           1,316,209                 633,478          1,597,397               1,027,088
  Accounts Receivable, Net                                     2,400,037                2,255,555         2,256,807               2,126,654
  Supplies Inventory                                            283,256                  271,513            293,259                281,923
  Other Current Assets                                         1,232,738                1,168,026           857,596                789,070
  Current Portion of Assets Whose Use is Limited                701,720                  341,065            653,722                338,778
       Total Current Assets                                    5,933,960                4,669,637         5,658,781               4,563,513
  Assets Whose Use is Limited                               10,854,956                  8,183,847         9,599,278               7,144,631
  Property, Plant, and Equipment, Net                       10,977,989                 10,435,875        10,870,578           10,286,917
  Other Assets                                                 2,785,088                3,177,694         1,300,183               1,932,833
       Total Assets                                $        30,551,993                 26,467,053        27,428,820           23,927,894

Current Liabilities:
  Current Portion of Long-Term Debt                $             85,111                   80,924            300,096                296,115
  Master Trust Debt Classified as Short-Term                    205,240                  205,240            110,000                110,000
  Accounts Payable                                             1,034,992                 909,251          1,097,689                983,562
  Accrued Compensation                                         1,145,308                1,057,534         1,202,269               1,109,270
  Other Current Liabilities                                    2,427,583                1,780,475         1,835,023               1,187,849
       Total Current Liabilities                               4,898,234                4,033,424         4,545,077               3,686,796
  Long-Term Debt, Net of Current Portion                       6,393,194                6,280,796         6,257,868               6,125,953
  Pension Benefit Obligation                                   1,093,830                1,093,830         1,065,098               1,065,098
  Other Liabilities                                            2,291,687                1,223,193         1,169,817                484,017
       Total Liabilities                                    14,676,945                 12,631,243        13,037,860           11,361,864
Net Assets:
  Controlling Interests                                     14,344,233                 12,911,678        12,988,247           11,739,238
  Noncontrolling Interests                                      149,783                     (475)           167,908                       -
       Net Assets Without Donor Restrictions                14,494,016                 12,911,203        13,156,155           11,739,238
       Net Assets With Donor Restrictions                      1,381,032                 924,607          1,234,805                826,792
       Total Net Assets                                     15,875,048                 13,835,810        14,390,960           12,566,030
       Total Liabilities and Net Assets            $        30,551,993                 26,467,053        27,428,820           23,927,894




                                                          31
EXHIBIT 6.5 - KEY PERFORMANCE METRICS

                                              Ended December 31, 2019           Ended December 31, 2018
                                         Consolidated       Obligated         Consolidated    Obligated


Inpatient Admissions                             506,581        496,847            513,841         504,405
Acute Patient Days                             2,464,462       2,413,118         2,441,202       2,395,267
Acute Outpatient Visits                       12,862,964     12,099,750         12,481,103      11,796,227
Primary Care Visits                           13,071,341       8,418,009        13,153,980       8,803,761
Inpatient Surgeries                              219,945        213,959            223,367         217,394
Outpatient Surgeries                             479,339        353,617            466,727         343,242
Long-Term Care Admissions                          8,056          7,664              8,642           8,189
Long-Term Care Patient Days                      401,925        391,803            413,477         401,861
Long-Term Care Average Daily Census                  238            210                243                211
Home Health Visits                             1,367,849        884,553          1,280,207         850,032
Hospice Days                                   1,027,037        605,087            902,781         581,857
Housing and Assisted Living Days                 619,485        241,802            622,805         247,419
Health Plan Members                              648,865                n/a        648,331                n/a
Acute Average Daily Census                         6,752          6,611              6,688           6,562
Acute Licensed Beds                               11,908         11,576             11,925          11,593
FTEs                                             104,780         92,318            105,114          93,584

Historical Debt Service Coverage Ratio              5.11            6.56               2.76           3.55




                                         32
EXHIBIT 6.6 - SUMMARY AUDITED COMBINING STATEMENTS OF OPERATIONS BY REGION


                                                                                                                                   Ended December 31, 2019
                                                                                                                                         (in 000's of dollars)
                                                                                                      Washington/                                                Southern             West Texas/         Other/
                                                                      Alaska           Swedish         Montana         Oregon             Northern California    California       Eastern New Mexico   Eliminations      Consolidated

Operating Revenues:
  Net Patient Service Revenues                                    $       877,338         2,641,782        4,510,769      2,624,318                 1,415,332        6,127,283            1,143,386           542,563        19,882,771
  Premium Revenues                                                               -               -               -        2,306,962                         -                 -                 -              68,737         2,375,699
  Capitation Revenues                                                            -               -          154,844             14,022                  75,252       1,269,847                  -                 484         1,514,449
  Other Revenues                                                           59,533          132,957          256,500         316,435                     50,143         322,306               61,027            53,597         1,252,498
     Total Operating Revenues                                             936,871         2,774,739        4,922,113      5,261,737                 1,540,727        7,719,436            1,204,413           665,381        25,025,417


Operating Expenses:
  Salaries and Benefits                                                   354,314         1,310,865        2,245,480      1,740,628                   602,681        2,774,572              505,404         2,638,181        12,172,125
  Supplies                                                                115,575          453,517          804,344         521,441                   207,974        1,066,488              223,757           304,649         3,697,745
  Purchased Healthcare Services                                                1,260         3,040          101,013       1,331,776                     48,868         554,460                  -               8,873         2,049,290
  Interest, Depreciation, and Amortization                                 57,940          150,757          182,056         120,166                     65,319         380,079               61,192           327,226         1,344,735
  Purchased Services, Professional Fees, and Other                        286,579          849,017         1,581,826      1,357,289                   585,364        2,932,384              342,462        (2,546,427)        5,388,494
     Total Operating Expenses Before Restructuring Costs                  815,668         2,767,196        4,914,719      5,071,300                 1,510,206        7,707,983            1,132,815           732,502        24,652,389


     Excess of Revenues Over Expenses from Operations Before
     Restructuring Costs                                                  121,203            7,543            7,394         190,437                     30,521          11,453               71,598           (67,121)          373,028
  Restructuring Costs                                                            -               -               -                 -                        -                 -                 -             158,729           158,729
     Excess (Deficit) of Revenues Over Expenses From Operations           121,203            7,543            7,394         190,437                     30,521          11,453               71,598          (225,850)          214,299
  Net Non-operating (Losses) Gains                                        110,478           69,221          122,939         222,208                     56,197         410,146               22,074           130,784         1,144,047
     Excess (Deficit) of Revenues Over Expenses                   $       231,681           76,764          130,333         412,645                     86,718         421,599               93,672           (95,066)        1,358,346




                                                                                                                33
EXHIBIT 6.7 - SUMMARY AUDITED COMBINING BALANCE SHEETS BY REGION


                                                                                                                            As of December 31, 2019
                                                                                                                                 (in 000's of dollars)
                                                                                            Washington/                                                      Southern             West Texas/         Other/
                                                        Alaska            Swedish            Montana            Oregon           Northern California         California       Eastern New Mexico   Eliminations      Consolidated

Current Assets:
   Cash and Cash Equivalents                        $        519,188            62,777             105,296          806,070                    19,512             (736,994)              186,515           353,845         1,316,209
   Accounts Receivable, Net                                  133,353           400,658             547,162          266,724                   153,238               756,109              154,290          (11,497)         2,400,037
   Supplies Inventory                                            15,783         40,957              57,201           46,762                    21,729                74,821               16,435             9,568           283,256
   Other Current Assets                                          26,777        161,352             829,791          200,861                    81,953               415,198              (5,835)         (477,359)         1,232,738
   Current Portion of Assets Whose Use is Limited                     -                 -                   -                -                    754                18,527                    -           682,439           701,720
         Total Current Assets                                695,101           665,744           1,539,450         1,320,417                  277,186               527,661              351,405           556,996         5,933,960
   Assets Whose Use is Limited                               883,563           580,385             957,865         2,152,635                  421,197             3,271,099              258,938         2,329,274        10,854,956
   Property, Plant, and Equipment, Net                       430,181         1,276,214           1,612,001         1,088,080                  712,532             3,973,988              544,071         1,340,922        10,977,989
   Other Assets                                                  76,635        358,478             330,472          152,802                    30,299             1,154,779              114,944           566,679         2,785,088
         Total Assets                               $      2,085,480         2,880,821           4,439,788         4,713,934                1,441,214             8,927,527            1,269,358         4,793,871        30,551,993

Current Liabilities:
   Current Portion of Long-Term Debt                                37              5,722                 891             151                  42,727                51,646               15,230          (31,293)            85,111
   Master Trust Debt Classified as Short-Term                         -                 -                   -                -                           -           84,662                    -           120,578           205,240
   Accounts Payable                                              20,640         92,204             136,656          109,303                    47,134               340,080               32,181           256,794         1,034,992
   Accrued Compensation                                          28,153         98,496             187,519          132,179                    43,262               264,677               48,992           342,030         1,145,308
   Other Current Liabilities                                     22,524        221,782             390,952          465,629                    80,946               668,510               66,718           510,522         2,427,583
         Total Current Liabilities                               71,354        418,204             716,018          707,262                   214,069             1,409,575              163,121         1,198,631         4,898,234
   Long-Term Debt, Net of Current Portion                    224,864           989,608           1,116,765          135,814                   310,321             1,938,510              329,957         1,347,355         6,393,194
   Pension Benefit Obligation                                         -        377,125                      -            9,065                           -                -                    -           707,640         1,093,830
   Other Liabilities                                             52,955        277,292             115,057          120,751                    22,384               614,647               62,412         1,026,189         2,291,687
         Total Liabilities                          $        349,173         2,062,229           1,947,840          972,892                   546,774             3,962,732              555,490         4,279,815        14,676,945
Net Assets:
   Controling Interests                                    1,713,370           705,740           2,422,290         3,494,941                  832,064             4,103,626              642,816           429,386        14,344,233
   Noncontroling Interests                                         383              2,276                   -             515                            -          114,820               26,761             5,028           149,783
         Net Assets Without Donor Restrictions             1,713,753           708,016           2,422,290         3,495,456                  832,064             4,218,446              669,577           434,414        14,494,016
         Net Assets With Donor Restrictions                      22,554        110,576              69,658          245,586                    62,376               746,349               44,291            79,642         1,381,032
         Total Net Assets                                  1,736,307           818,592           2,491,948         3,741,042                  894,440             4,964,795              713,868           514,056        15,875,048
         Total Liabilities and Net Assets           $      2,085,480         2,880,821           4,439,788         4,713,934                1,441,214             8,927,527            1,269,358         4,793,871        30,551,993




                                                                                                          34
EXHIBIT 6.8 - KEY PERFORMANCE METRICS BY REGION

                                                                                                     As of December 31, 2019
                                                                              Washington/                                                 Southern                 West Texas/
                                          Alaska            Swedish            Montana            Oregon            Northern California   California           Eastern New Mexico     Consolidated


Inpatient Admissions                               16,333         60,291               126,838             61,991                29,703          185,286                    26,139            506,581
Acute Patient Days                             119,299           296,910               659,085         315,720                  153,235          787,907                   132,306          2,464,462
Acute Outpatient Visits                        466,929           739,939            3,173,243        3,487,974                  733,771        3,569,488                   691,620         12,862,964
Primary Care Visits                            110,664          1,769,432           3,896,200        2,384,306                  605,171        3,573,213                   599,199         13,071,341
Inpatient Surgeries                                 8,294         29,348                59,742             30,000                 8,439           75,704                     8,418            219,945
Outpatient Surgeries                               11,400         55,972               122,966         129,575                   16,054          117,741                    25,631            479,339
Long-Term Care Patient Days                        59,477               n/a              5,163             44,828                   n/a           81,028                    10,122            401,925
Home Health Visits                                 14,557               n/a              5,677         319,578                   53,712                  n/a                    n/a         1,367,849
Hospice Days                                       24,043               n/a                 n/a        203,546                  116,817                 438                 64,862          1,027,037
Housing and Assisted Living Days                   29,182               n/a             26,917         141,295                      n/a                  n/a                    n/a           619,485
Health Plan Members                                   n/a               n/a                 n/a        648,865                      n/a                  n/a                    n/a           648,865
Average Daily Census                                 327               813               1,806               865                    420                2,159                   362              6,752
Acute Licensed Beds                                  485              1,607              2,810              1,484                   774                3,853                   895             11,908
FTEs                                                3,724         10,731                21,442             16,912                 5,003           26,162                     5,626            104,780




                                                                                  35
  PROVIDENCE ST. JOSEPH HEALTH
      Combined Financial Statements
       December 31, 2019 and 2018
(With Independent Auditors Report Thereon)
                                KPMG LLP
                                Suite 2900
                                1918 Eighth Avenue
                                Seattle, WA 98101




                                              Independent Auditors Report


The Board of Directors
Providence St. Joseph Health:

We have audited the accompanying combined financial statements of Providence St. Joseph Health, which
comprise the combined balance sheets as of December 31, 2019 and 2018, and the related combined
statements of operations, changes in net assets, and cash flows for the years then ended, and the related
notes to the combined financial statements.

Management s Responsibility for the Financial Statements
Management is responsible for the preparation and fair presentation of these combined financial statements in
accordance with U.S. generally accepted accounting principles; this includes the design, implementation, and
maintenance of internal control relevant to the preparation and fair presentation of combined financial
statements that are free from material misstatement, whether due to fraud or error.

Auditors Responsibility
Our responsibility is to express an opinion on these combined financial statements based on our audits. We
conducted our audits in accordance with auditing standards generally accepted in the United States of America.
Those standards require that we plan and perform the audit to obtain reasonable assurance about whether the
combined financial statements are free from material misstatement.

An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
combined financial statements. The procedures selected depend on the auditors judgment, including the
assessment of the risks of material misstatement of the combined financial statements, whether due to fraud or
error. In making those risk assessments, the auditor considers internal control relevant to the entity s
preparation and fair presentation of the combined financial statements in order to design audit procedures that
are appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of
the entity s internal control. Accordingly, we express no such opinion. An audit also includes evaluating the
appropriateness of accounting policies used and the reasonableness of significant accounting estimates made
by management, as well as evaluating the overall presentation of the combined financial statements.

We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for our
audit opinion.

Opinion
In our opinion, the combined financial statements referred to above present fairly, in all material respects, the
financial position of Providence St. Joseph Health as of December 31, 2019 and 2018, and the results of its
operations and its cash flows for the years then ended in accordance with U.S. generally accepted accounting
principles.

Emphasis of Matter
As discussed in Note 1 to the combined financial statements, in 2019, Providence St. Joseph Health adopted
new accounting guidance in Accounting Standards Update (ASU) No. 2016-02, Leases (Topic 842). Our
opinion is not modified with respect to this matter.


                                KPMG LLP is a Delaware limited liability partnership and the U.S. member
                                firm of the KPMG network of independent member firms affiliated with
Other Matter
Our audit was conducted for the purpose of forming an opinion on the combined financial statements as a
whole. The Obligated Group Combining Balance Sheets and Statements of Operations Information included on
pages 36 and 37 are presented for purposes of additional analysis and is not a required part of the combined
financial statements. Such information is the responsibility of management and was derived from and relates
directly to the underlying accounting and other records used to prepare the combined financial statements. The
information has been subjected to the auditing procedures applied in the audit of the combined financial
statements and certain additional procedures, including comparing and reconciling such information directly to
the underlying accounting and other records used to prepare the combined financial statements or to the
combined financial statements themselves, and other additional procedures in accordance with auditing
standards generally accepted in the United States of America. In our opinion, the information is fairly stated in
all material respects in relation to the combined financial statements as a whole.




Seattle, Washington
March 4, 2020




                                                      2
                                   PROVIDENCE ST. JOSEPH HEALTH
                                  Notes to Combined Financial Statements
                                        December 31, 2019 and 2018
                                            (In millions of dollars)



(1) Basis of Presentation and Significant Accounting Policies
   (a) Reporting Entity
       Providence St. Joseph Health (the Health System), a Washington nonprofit corporation, is the sole
       corporate member of Providence Health & Services (PHS) and the St. Joseph Health System (SJHS).
       PHS, a Washington nonprofit corporation, is a Catholic healthcare system sponsored by the public
       juridic person, Providence Ministries. SJHS, a California nonprofit public benefit corporation, is a
       Catholic healthcare system sponsored by the public juridic person, St. Joseph Health Ministry.

       The Health System seeks to improve the health of the communities it serves, especially the poor and
       vulnerable. The Health System operations include 51 hospitals and a comprehensive range of services
       provided across Alaska, California, Montana, New Mexico, Oregon, Texas, and Washington. The
       Health System also provides population health management through various affiliated licensed insurers
       and other risk-bearing entities.

       The Health System has been recognized as exempt from federal income taxes, except on unrelated
       business income, under Section 501(a) of the Internal Revenue Code (IRC) as an organization
       described in Section 501(c)(3) and further described as a public charitable organization under
       Section 509(a)(3). PHS, SJHS, and substantially all of the various corporations within the Health
       System have been granted exemptions from federal income tax under Section 501(a) of the Internal
       Revenue Code as charitable organizations described in Section 501(c)(3). During 2019 and 2018, the
       Health System did not record any liability for unrecognized tax benefits.

       The accompanying combined balance sheets and related combined statements of operations, changes
       in net assets, and cash flows reflect the Health System s financial position and results of operations as
       of and for the years ended December 31, 2019 and 2018.

   (b) Basis of Presentation
       The accompanying combined financial statements of the Health System were prepared in accordance
       with U.S. generally accepted accounting principles and include the assets, liabilities, revenues, and
       expenses of all wholly owned affiliates, majority-owned affiliates over which the Health System
       exercises control, and, when applicable, entities in which the Health System has a controlling financial
       interest. Intercompany balances and transactions have been eliminated in combination.

   (c) Performance Indicator
       The performance indicator is the excess (deficit) of revenues over expenses. Changes in unrestricted
       net assets that are excluded from the performance indicator include net assets released from restriction
       for the purchase of property, plant, and equipment, certain changes in funded status of pension and
       other postretirement benefit plans, restricted contributions from affiliations, net changes in
       noncontrolling interests in combined joint ventures, and certain other activities.




                                                     7                                              (Continued)
                                 PROVIDENCE ST. JOSEPH HEALTH
                                Notes to Combined Financial Statements
                                      December 31, 2019 and 2018
                                           (In millions of dollars)



(d) Operating and Nonoperating Activities
   The Health System s primary mission is to meet the healthcare needs in its market areas through a
   broad range of general and specialized healthcare services, including inpatient acute care, outpatient
   services, physician services, long-term care, population health management, and other healthcare and
   health insurance services. Activities directly associated with the furtherance of this mission are
   considered to be operating activities. Other activities that result in gains or losses peripheral to the
   Health System s primary mission are considered to be nonoperating. Nonoperating activities include
   investment earnings, gains or losses from debt extinguishment, certain pension related costs, gains or
   losses on interest rate swaps, and certain other activities.

(e) Restructuring Costs
   Restructuring costs were recorded during the years ended December 31, 2019 and 2018. The amounts
   were comprised of severance, consulting expenses and asset impairment related to restructuring
   initiatives.

(f) Use of Estimates and Assumptions
   The preparation of the combined financial statements in conformity with U.S. generally accepted
   accounting principles requires the use of estimates and assumptions that affect the reported amounts
   of assets and liabilities and the reported amounts of revenues and expenses during the reporting
   periods. Significant estimates and assumptions are used for, but not limited to: (1) allowance for
   contractual revenue adjustments; (2) allowance for bad debts in 2018; (3) fair value of acquired assets
   and assumed liabilities in business combinations; (4) fair value of investments; (5) reserves for
   self-insured healthcare plans; and (6) reserves for professional, workers compensation and general
   insurance liability risks.

   The accounting estimates used in the preparation of the combined financial statements will change as
   new events occur, additional information is obtained or the operating environment changes.
   Assumptions and the related estimates are updated on an ongoing basis and external experts may be
   employed to assist in the evaluation, as considered necessary. Actual results could materially differ
   from those estimates.

(g) Cash and Cash Equivalents
   Cash and cash equivalents include highly liquid investments with an original or remaining maturity of
   three months or less when acquired.

(h) Supplies Inventory
   Supplies inventory is stated at the lower of cost (first-in, first-out) or market.

(i) Investments Including Assets Whose Use Is Limited
   The Health System has classified all of its investments as trading securities. These investments are
   reported on the combined balance sheets at fair value on a trade-date basis.




                                                     8                                          (Continued)
                                PROVIDENCE ST. JOSEPH HEALTH
                              Notes to Combined Financial Statements
                                    December 31, 2019 and 2018
                                         (In millions of dollars)



   Assets whose use is limited primarily include assets held by trustees under indenture agreements,
   self-insurance funds, funds held for the payment of health plan medical claims and other statutory
   reserve requirements, assets held by related foundations, and designated assets set aside by
   management of the Health System for future capital improvements and other purposes, over which
   management retains control.

(j) Liquidity
   Cash and cash equivalents and accounts receivable are the primary liquid resources used by the
   Health System to meet expected expenditure needs within the next year. The Health System has credit
   facility programs, as described in Note 7, available to meet unanticipated liquidity needs. Although
   intended to satisfy long-term obligations, management estimates that approximately 68% of noncurrent
   investments, as stated at December 31, 2019, could be utilized within the next year if needed.

(k) Derivative Instruments
   The Health System allows certain investment managers to use derivative financial instruments (futures
   and forward currency contracts) to manage interest rate risk related to the Health System s
   fixed-income holdings. Also, the Health System uses derivative financial instruments (interest rate
   swaps) to manage its interest rate exposure and overall cost of borrowing. The interest rate swap
   agreements do not meet the criteria for hedge accounting and all changes in the valuation are
   recognized as a component of net nonoperating gains (losses) in the accompanying combined
   statements of operations.

(l) Net Assets
   Net assets without donor restrictions are those that are not subject to donor-imposed stipulations.
   Amounts related to the Health System s noncontrolling interests in certain joint ventures are included in
   net assets without donor restrictions.

   Net assets with donor restrictions are those whose use by the Health System has been limited by
   donors to a specific time period, in perpetuity, and/or purpose.

   Net assets with donor restrictions are available for the following purposes as of December 31:

                                                                             2019                 2018
    Program support                                                  $           1,046                   903
    Capital acquisition                                                            228                   211
    Low-income housing and other                                                   107                   121
                  Total net assets with donor restrictions           $           1,381               1,235


(m) Donor-Restricted Gifts
   Unconditional promises to give cash and other assets to the Health System are reported at fair value at
   the date the promise is received. Conditional promises to give and indications of intentions to give are
   reported at fair value at the date the promise to give is no longer conditional. The gifts are reported as

                                                  9                                              (Continued)
                                 PROVIDENCE ST. JOSEPH HEALTH
                               Notes to Combined Financial Statements
                                     December 31, 2019 and 2018
                                          (In millions of dollars)



   contributions with donor restrictions if they are received with donor stipulations that limit the use of the
   donated assets. When the terms of a donor restriction are met, net assets with donor restrictions are
   reclassified as net assets without donor restrictions and reported as other operating revenues in the
   combined statements of operations or as net assets released from restriction in the combined
   statements of changes in net assets.

(n) Charity Care and Community Benefit
   The Health System provides community benefit activities that address significant health priorities within
   its geographic service areas. These activities include Medicaid and Medicare shortfalls, community
   health services, education and research, and free and low-cost care (charity care).

   Charity care is reported at cost and is determined by multiplying the charges incurred at established
   rates for services rendered by the Health System s cost-to-charge ratio. The cost of charity care
   provided by the Health System for the years ended December 31, 2019 and 2018 was $303.

(o) Subsequent Events
   The Health System has performed an evaluation of subsequent events through March 4, 2020, the
   date the accompanying combined financial statements were issued.

(p) New Accounting Pronouncements
   In May 2014, the Financial Accounting Standards Board (FASB) issued Accounting Standards Update
   (ASU) 2014-09, Revenue from Contracts with Customers (Topic 606). The ASU replaces most existing
   revenue recognition guidance. The ASU was adopted on January 1, 2018 using the cumulative effect
   method for those contracts that were not substantially completed as of January 1, 2018. Results for
   reporting periods beginning on or after January 1, 2018 are presented under Topic 606, while prior
   period amounts continue to be presented in accordance with the Health System s historical accounting
   under Revenue Recognition (Topic 605). The adoption of the ASU primarily changed the Health
   System s presentation of revenues and the provision and allowance for bad debts. The ASU requires
   revenue to be recognized based on the Health System s estimate of the transaction price the Health
   System expects to collect as a result of satisfying its performance obligations. Accordingly, for
   performance obligations satisfied after January 1, 2018, the Health System no longer separately
   presents a provision for bad debts on the combined statements of operations or the related allowance
   for bad debts on the combined balance sheets. However, as a result of the Health System s election to
   apply the ASU only to contracts not substantially completed as of January 1, 2018, the Health System
   continued to maintain an allowance for bad debts related to performance obligations satisfied prior to
   January 1, 2018. Changes to the allowance for bad debts, other than the write-offs of uncollectable
   accounts, are recorded through the provision for bad debts on the combined statements of operations
   in accordance with Topic 605 continuing into 2018. The adoption of Topic 606 did not have a significant
   impact on the recognition of net patient services revenues.

   In January 2016, the FASB issued ASU 2016-01, Financial Instruments Overall (Subtopic 825-10):
   Recognition and Measurement of Financial Assets and Financial Liabilities, which updates certain
   aspects of recognition, measurement, presentation and disclosure of financial instruments. The Health



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System implemented ASU 2016-01 for the fiscal year beginning January 1, 2018. The provisions of the
standard did not have a material impact on the combined financial statements.

In February 2016, the FASB issued ASU 2016-02, Leases (Topic 842), which requires lessees to
recognize a lease liability and a right-of-use (ROU) asset for all lease obligations with exception to
short-term leases. The lease liability will represent the lessee s obligation to make lease payments
arising from the lease measured on a discounted basis and the ROU asset will represent the lessee s
right to use or control the use of a specified asset for a lease term. The lease guidance also simplifies
accounting for sale-leaseback transactions. Topic 842 is effective for the Health System beginning on
January 1, 2019. In 2019, the FASB updated its guidance allowing entities to adopt the provisions of
the standard prospectively without adjusting comparative periods. The Health System elected this
option. The Health System elected to apply the packages of practical expedients to not reassess prior
conclusions related to contracts containing leases, lease classification, and initial direct costs.
Additionally, the Health System elected to apply the hindsight practical expedient, which allows entities
to use hindsight in determining the lease term and in assessing impairment. In 2019, the Health
System recorded initial ROU assets, offset by existing deferred rent, of approximately $1.4 billion and
lease liabilities of approximately $1.6 billion on its combined balance sheets.

In August 2016, the FASB issued ASU 2016-14, Presentation of Financial Statements of Not-for-Profit
Entities, with the intent of reducing diversity in reporting practice, reduce complexity, and enhance
understandability of not-for-profit (NFP) financial statements. This ASU contains the following key
aspects; (A) reduces the number of net asset classes presented from three to two: with donor
restrictions and without donor restrictions; (B) requires all NFPs to present expenses by their functional
and their natural classifications in one location in the financial statements; (C) requires NFPs to provide
quantitative and qualitative information about management of liquid resources and availability of
financial assets to meet cash needs within one year of the balance sheet date; and (D) retains the
options to present operating cash flows in the statement of cash flows using either the direct or indirect
method. The Health System implemented ASU 2016-14 as of January 1, 2018. The impact of adoption
resulted in enhanced disclosures about the classification of expenses and management of liquid
resources.

In November 2016, the FASB issued ASU 2016-18, Statement of Cash Flows (Topic 230): Restricted
Cash, which requires the amounts generally described as restricted cash and restricted cash
equivalents to be included with cash and cash equivalents when reconciling the beginning-of-period
and end-of-period total amounts shown on the statement of cash flows. The Health System adopted
ASU 2016-18 in 2019 and the provisions of the standard did not have an impact on the combined
financial statements.

In August 2018, the FASB issued ASU 2018-15,
Incurred in a Cloud Computing Arrangement that is a Service Contract, which requires implementation
costs incurred by customers in cloud computing arrangements to be deferred and recognized over the
term of the arrangement, if those costs would be capitalized in a software licensing arrangement under
internal-use software guidance in Accounting Standards Codification Topic 350-40, Intangibles
Goodwill and Other-Internal-Use Software. The Health System adopted ASU 2018-15 in 2019 and the
provisions of the standard did not have a material impact on the combined financial statements.


                                               11                                              (Continued)
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      In May 2019, the FASB issued ASU 2019-06, Extending the Private Company Accounting Alternatives
      on Goodwill and Certain Identifiable Intangible Assets to Not-for-Profit entities, which provides optional
      alternatives to goodwill and certain intangible assets acquired in a business combination. The
      alternatives are intended to (1) reduce the frequency of impairment tests; (2) simplify the impairment
      test when it is required; and (3) result in recognition of fewer intangible assets in future business
      combinations. The Health System is currently evaluating the impact of this ASU.

   (q) Reclassifications
      Certain reclassifications, which have no impact on net assets or changes in net assets, have been
      made to prior year amounts to conform to the current year presentation.

(2) Revenue Recognition
   (a) Net Patient Service Revenues
      The Health System has agreements with governmental and other third-party payors that provide for
      payments to the Health System at amounts different from established charges. Payment arrangements
      for major third-party payors may be based on prospectively determined rates, reimbursed cost,
      discounted charges, per diem payments, or other methods.

      Net patient service revenues are recognized at the time services are provided to patients. Revenue is
      recorded in the amount which the Health System expects to collect, which may include variable
      components. Variable consideration is included in the transaction price to the extent that it is probable
      that a significant reversal in the amount of cumulative revenue recognized will not occur when the
      uncertainty associated with the variable consideration is subsequently resolved. Adjustments from
      finalization of prior years cost reports and other third-party settlement estimates resulted in an increase
      in net patient service revenues of $26 and $6 for the years ended December 31, 2019 and 2018,
      respectively.

      Various states in which the Health System operates have instituted a provider tax on certain patient
      service revenues at qualifying hospitals to increase funding from other sources and obtain additional
      Federal funds to support increased payments to providers of Medicaid services. The taxes are included
      in purchased services, professional fees, and other expenses in the accompanying combined
      statements of operations and were $597 and $591 for the years ended December 31, 2019 and 2018,
      respectively. These programs resulted in enhanced payments from these states in the way of
      lump-sum payments and per claim increases. These enhanced payments are included in net patient
      service revenues in the accompanying combined statements of operations and were $942 and $894 for
      the years ended December 31, 2019 and 2018, respectively.

   (b) Premium and Capitation Revenues
      Premium and capitation revenues are received on a prepaid basis and are recognized as revenue
      ratably over the period for which the enrolled member is entitled to healthcare services. The timing of
      the Health System s performance may differ from the timing of the payment received, which may result
      in the recognition of a contract asset or a contract liability. The balance of contract liabilities was $24
      and $29 as of December 31, 2019 and 2018, respectively. The Health System has no material contract
      assets.

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(c) Allowance for Bad Debts
   As a result of adopting ASU 2014-09 as described in Note 1, the Health System continued to maintain
   an allowance for bad debts related to performance obligations satisfied prior to January 1, 2018. These
   accounts have all been fully resolved, therefore the allowance for bad debts has declined to $0 as of
   December 31, 2019.

   The Health System provided for an allowance against patient accounts receivable for amounts that
   could become uncollectible. The Health System estimated this allowance based on the aging of
   accounts receivable, historical collection experience by payor, and other relevant factors. There are
   various factors that can impact the collection trends, such as changes in the economy, which in turn
   have an impact on unemployment rates and the number of uninsured and underinsured patients, the
   increased burden of copayments to be made by patients with insurance coverage and business
   practices related to collection efforts. These factors continuously change and can have an impact on
   collection trends and the estimation process used by the Health System. The Health System records a
   provision for bad debts in the period of services on the basis of past experience, which has historically
   indicated that many patients are unresponsive or are otherwise unwilling to pay the portion of their bill
   for which they are financially responsible.

   The estimates made and changes affecting those estimates are summarized as follows for the years
   ended December 31:

                                                                            2019                2018
   Changes in allowance for bad debts:
     Allowance for doubtful accounts at beginning of year           $             119                 227
     Write-off of uncollectible accounts, net of recoveries                      (119)               (219)
     Provision for bad debts                                                                          111
      Allowance for bad debts at end of year                        $                                  119


(d) Disaggregation of Revenue
   The Health System earns the majority of its revenues from contracts with customers. Revenues and
   adjustments not related to contracts with customers are included in other revenue.




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Operating revenues from contracts with customers by state are as follows for the years ended
December 31:

                                                                       2019               2018
Alaska                                                         $            877                   851
Washington                                                                7,036                 6,724
Montana                                                                     450                   433
Oregon                                                                    5,207                 5,091
California                                                                9,083                 8,684
Texas                                                                     1,120                 1,574
              Total revenues from contracts with customers               23,773                23,357
Other revenues                                                            1,252                 1,071
              Total operating revenues                         $         25,025                24,428


Operating revenues from contracts with customers by line of business are as follows for the years
ended December 31:

                                                                       2019               2018
Hospitals                                                      $         16,805                16,187
Health plans and accountable care                                         2,553                 3,212
Physician and outpatient activities                                       2,865                 2,726
Long-term care, home care, and hospice                                    1,198                   990
Other                                                                       352                   242
              Total revenues from contracts with customers               23,773                23,357
Other revenues                                                            1,252                 1,071
              Total operating revenues                         $         25,025                24,428




                                             14                                            (Continued)
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       Operating revenues from contracts with customers by payor are as follows for the years ended
       December 31:

                                                                                  2019                 2018
       Commercial                                                           $       11,918               11,503
       Medicare                                                                      8,017                7,540
       Medicaid                                                                      3,441                3,781
       Self-pay and other                                                              397                  533
                      Total revenues from contracts with customers                  23,773               23,357
       Other revenues                                                                 1,252                1,071
                      Total operating revenues                              $       25,025               24,428


(3) Fair Value Measurements
   ASC Topic 820 (Topic 820), Fair Value Measurements, requires a fair value hierarchy that prioritizes the
   inputs to valuation techniques used to measure fair value. The hierarchy gives the highest priority to
   unadjusted quoted prices in active markets for identical assets or liabilities (Level 1 measurements) and the
   lowest priority to measurements involving significant unobservable inputs (Level 3 measurements). The
   three levels of the fair value hierarchy are as follows:

       Level 1 inputs include quoted prices (unadjusted) in active markets for identical assets or liabilities that
       the Health System has the ability to access at the measurement date.
       Level 2 inputs include inputs other than quoted prices included within Level 1 that are observable for
       the asset or liability, either directly or indirectly.
       Level 3 inputs are unobservable inputs for the asset or liability.

   The level in the fair value hierarchy within which a fair value measurement in its entirety falls is based on
   the lowest-level input that is significant to the fair value measurement in its entirety.

   (a) Assets Whose Use Is Limited
       The fair value of assets whose use is limited, other than those investments measured using net asset
       value per share (NAV) as a practical expedient for fair value, is estimated using quoted market prices
       or other observable inputs when quoted market prices are unavailable.




                                                       15                                              (Continued)
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The composition of assets whose use is limited is set forth in the following tables:

                                                       December 31,        Fair value measurements at reporting date using
                                                          2019               Level 1          Level 2            Level 3
Management-designated cash and investments:
  Cash and cash equivalents                        $            295                295
  Equity securities:
     Domestic                                                  1,193             1,193
     Foreign                                                     398               398
  Mutual funds                                                 1,421             1,421
  Domestic debt securities:
     State and federal government                              1,914             1,077               837
     Corporate                                                   867                                 867
     Other                                                       759                                 759
  Foreign debt securities                                        344                                 344
  Commingled funds                                               102               102
  Other                                                           33                 2                31
  Investments measured using NAV                               3,628
               Total management-designated
                  cash and investments                        10,954
Gift annuities, trusts, and other                               207                 53                11               143
Funds held by trustee:
  Cash and cash equivalents                                     156                156
  Domestic debt securities                                      210                106               104
  Foreign debt securities                                        30                                   30
               Total funds held by trustee                      396
               Total assets whose use is limited   $          11,557




                                                         16                                                     (Continued)
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                                                       December 31,        Fair value measurements at reporting date using
                                                          2018               Level 1          Level 2            Level 3
Management-designated cash and investments:
  Cash and cash equivalents                        $            308                308
  Equity securities:
     Domestic                                                  1,012             1,012
     Foreign                                                     317               317
  Mutual funds                                                 1,214             1,214
  Domestic debt securities:
     State and federal government                              1,607               951               656
     Corporate                                                   756                                 756
     Other                                                       507                                 507
  Foreign debt securities                                        186                                 186
  Commingled funds                                               336               336
  Other                                                           17                                  17
  Investments measured using NAV                               3,386
               Total management-designated
                  cash and investments                         9,646
Gift annuities, trusts, and other                               184                 53                12               119
Funds held by trustee:
  Cash and cash equivalents                                     112                112
  Domestic debt securities                                      274                151               123
  Foreign debt securities                                        37                                   37
               Total funds held by trustee                      423
               Total assets whose use is limited   $          10,253


The Health System participates in various funds that are not actively marketed on an open exchange.
These investments consist of shares or units in investment funds as opposed to direct interests in the
funds underlying holdings, which may be marketable. Due to the nature of these funds the NAV per
share, or its equivalent, reported by each fund manager is used as a practical expedient to estimate the
fair value of the Health System s interest therein. Management believes that the carrying amounts of
these financial instruments, provided by the fund managers, are reasonable estimates of fair value.




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The following table presents information, including unfunded commitments for investments where the
NAV was used to estimate the value of the investments as of December 31:

                                Fair value             Unfunded             Redemption          Redemption
                            2019          2018       commitments             frequency          notice period

Hedge funds:
  Long/short equity     $      743            639                      Monthly, quarterly, semi-
                                                                        annually, or annually
  Credit                       364            360                      Quarterly or annually
  Relative value               201            208                      Quarterly
  Global macros                169            244                      Monthly or quarterly
  Fund of hedge funds            9              7                      Quarterly                 90 days
Private equity                 579            372                620   Not applicable            Not applicable
Private real estate            185            155                216   Not applicable            Not applicable
Risk parity                                    84                      Monthly or annually
Real assets                    136            244                112   Monthly or quarterly
Commingled                    1,242         1,073                      Monthly, quarterly, or
                                                                        semi-annually

            Total       $     3,628         3,386                948



The following is a summary of the nature of these investments and their associated risks:

Hedge funds are portfolios of investments that use advanced investment strategies, such as long/short
equity, credit, relative value, global macro, and fund of hedge funds positions in both domestic and
international markets, with the goal of diversifying portfolio risk and generating return. The Health
System s investments in hedge funds include certain funds with provisions that limit the Health
System s ability to access assets invested. These provisions include lockup terms that range up to
three years from the subscription date or are continuous and determined as a percent of total assets
invested. The Health System is in various stages of the lockup periods dependent on hedge fund and
period of initial investments.

Private equity and private real estate funds make opportunistic investments that are primarily private
in nature. These investments cannot be redeemed by the Health System; rather the Health System has
committed an amount to invest in the private funds over the respective commitment periods. After the
commitment period has ended, the nature of the investments in this category is that the distributions
are received through the liquidation of the underlying assets.

Risk parity is an approach to investment portfolio management which focuses on allocation of risk,
usually defined as volatility, rather than allocation of capital. The risk parity approach asserts that when
asset allocations are adjusted to the same risk level, the risk parity portfolio can achieve a higher
Sharpe ratio and can be more resistant to market downturns than the traditional portfolio. The key to
risk parity is to diversify across asset classes that behave differently across economic environments.




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   Real asset strategies invest in securities backed by tangible real assets, with the objective of achieving
   attractive diversified total returns over the long term, while maximizing the potential for real returns in
   periods of rising inflation. Real asset investments should provide a return in excess of inflation, and
   their performance should be sensitive to changes in inflation or expectations for future levels of
   inflation. The real asset category is made up of many different underlying sectors inclusive of
   agriculture, commodities, gold, infrastructure, private energy, MLPs (Master Limited Partnerships), real
   estate, REITs (Real Estate Investment Trusts), timberland, and TIPS (Treasury Inflation Protected
   Securities). Each of these sectors tends to have a high degree of sensitivity to inflation and be less
   correlated with traditional equities and fixed income.

   Commingled describes a type of fund structure. Commingled funds consist of assets from several
   accounts that are blended together. Investors in commingled fund investments benefit from economies
   of scale, which allow for lower trading costs per dollar of investment.

(b) Unsettled Transactions
   Investment sales and purchases initiated prior to and settled subsequent to the combined balance
   sheet date result in amounts due from and to brokers. As of December 31, 2019, the Health System
   recorded a receivable of $300 for investments sold but not settled and a payable of $558 for
   investments purchased but not settled in other current assets and other current liabilities, respectively,
   in the accompanying combined balance sheets. As of December 31, 2018, the Health System recorded
   a receivable of $102 for investments sold but not settled and a payable of $305 for investments
   purchased but not settled in other current assets and other current liabilities, respectively, in the
   accompanying combined balance sheets.

(c) Derivative Instruments
   The investment managers have executed master netting arrangements with the counterparties of the
   futures and forward currency purchase and sale contracts whereby the financial instruments held by
   the same counterparty are legally offset as the instruments are settled. The following table presents
   gross investment derivative assets and liabilities reported on a net basis at fair value included in assets
   whose use is limited in the combined balance sheets as of December 31:

                                                                            2019                 2018
    Derivative assets:
      Futures contracts                                                $           681                  707
      Foreign currency forwards and other contracts                                135                  153
                 Total derivative assets                               $           816                  860
    Derivative liabilities:
      Futures contracts                                                $         (681)                (707)
      Foreign currency forwards and other contracts                              (140)                (153)
                 Total derivative liabilities                          $         (821)                (860)




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   (d) Investment Income (Loss), Net
                                                                               2019                2018

       Interest and dividend income                                    $              146                  121
       Net realized gains on sale of trading securities                               161                  165
       Change in net unrealized gains (losses) on trading securities                  978                 (652)
                      Investment income (loss), net                    $           1,285                  (366)


   (e) Assets Measured Using Significant Unobservable Inputs
       The following table presents the Health System s activity for assets measured at fair value on a
       recurring basis using significant unobservable inputs (Level 3) as defined in Topic 820:

                         Balance at December 31, 2017                      $            105

                            Total realized and unrealized gains, net                         3
                            Total purchases                                                 16
                            Total sales                                                     (5)

                         Balance at December 31, 2018                                   119

                            Total realized and unrealized gains, net                          3
                            Total purchases                                                  36
                            Total sales                                                     (15)
                         Balance at December 31, 2019                      $            143


       There were no significant transfers between assets classified as Level 1 and Level 2 during the years
       ended December 31, 2019 and 2018.

       Level 3 assets include charitable remainder trusts, real property, and equity investments in healthcare
       technology start-ups through the Health System s innovation venture capital fund. Fair values of real
       property were estimated using a market approach. Fair values of charitable remainder trusts were
       estimated using an income approach. Fair value of equity investments in healthcare technology
       start-ups were estimated using a combination of income and market approach.

(4) Property, Plant, and Equipment, Net
   Property, plant, and equipment are stated at cost. Improvements and replacements of plant and equipment
   are capitalized, and maintenance and repairs are expensed. The provision for depreciation is determined
   by the straight-line method, which allocates the cost of tangible property equally over its estimated useful
   life or lease term. Impairment of property, plant, and equipment is assessed when there is evidence that
   events or changes in circumstances have made recovery of the net carrying value of assets unlikely.




                                                      20                                           (Continued)
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       Interest capitalized on amounts expended during construction is a component of the cost of additions to
       be allocated to future periods through the provision for depreciation. Capitalization of interest ceases
       when the addition is substantially complete and ready for its intended use.

       Property, plant, and equipment and the total accumulated depreciation are as follows as of
       December 31:

                                                           Approximate
                                                            useful life
                                                             (years)             2019                 2018
       Land                                                               $          1,476               1,459
       Buildings and improvements                                                   10,229              10,036
       Equipment:
         Fixed                                                                       1,305               1,289
         Major movable and minor                                                     6,249               6,050
       Construction in progress                                                      1,497                 970
                                                                                    20,756              19,804
       Less accumulated depreciation                                                (9,778)             (8,933)
                      Property, plant, and
                        equipment, net                                    $         10,978              10,871


       Construction in progress primarily represents renewal and replacement of various facilities in the
                                                  ll as costs capitalized for software development.

(5) Other Assets
   Other assets are summarized as follows as of December 31:

                                                                                 2019                 2018
       Investment in nonconsolidated joint ventures                       $             330                  337
       Intangible assets                                                                258                  236
       Goodwill                                                                         307                  229
       Beneficial interest in noncontrolled foundations                                 228                  176
       Other                                                                            422                  322
                       Total other assets                                 $          1,545                1,300


   Goodwill is recorded as the excess of cost over fair value of the acquired net assets. Indefinite-lived
   intangible assets are recorded at fair value using various methods depending on the nature of the
   intangible asset. Both goodwill and indefinite-lived intangible assets are tested annually for impairment.


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   Definite-lived intangible assets are amortized using the straight-line method over the estimated useful lives
   of the assets.

   The Health System recorded no goodwill impairment for the years ended December 31, 2019 and 2018.

(6) Leases
   The Health System enters into operating and finance leases primarily for buildings and equipment. For
   leases with terms greater than 12 months, the Health System records the related ROU asset and liability at
   the present value of the lease payments over the contract term using the Health System
   borrowing rate. Building lease agreements generally require the Health System to pay maintenance,
   repairs, and property taxes, which are variable based on actual costs incurred during each applicable
   period. Such costs are not included in the determination of the ROU asset or lease liability. Variable lease
   costs also include escalating rent payments that are not fixed at lease commencement but are based on an
   index that is determined in future periods over the lease term based on changes in the Consumer Price
   Index or other measure of cost inflation. Most leases include one or more options to renew the lease at the
   initial term, with renewal terms that generally extend the lease at the then market rate of rental payment.
   Certain lease also include an option to buy the underlying asset at or a short time prior to the termination of
   the lease.
   commencement, with only those that are reasonably certain of exercise included in determining the
   appropriate lease term. The Health System has elected the practical expedient to not separate lease
   components from non-lease components for its financing and operating leases.

   The components of lease cost are as follows for the year ended December 31, 2019:

                                                                                  2019

                         Operating lease cost:
                           Fixed lease expense                            $              293
                           Short-term lease expense                                       39
                           Variable lease expense                                         95
                               Total operating lease cost                                427

                         Finance lease cost:
                            Amortization of ROU assets                                   23
                            Interest on finance lease liabilities                        21
                                                                          $              44




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Supplemental cash flow and other information related to leases as of and for the year ended December 31
are as follows:

                                                                                              2019
Cash paid for amounts included in the measurement of lease liabilities:
      Operating cash flows from operating leases                                        $            280
      Operating cash flows from finance leases                                                        19
      Financing cash flows from finance leases                                                        14

Additions to ROU assets obtained from operating leases                                               110
Additions to ROU assets obtained from finance leases                                                   7

Weighted-average remaining lease term (in years):
     Operating leases                                                                                  9
     Finance leases                                                                                   15
Weighted-average discount rate:
     Operating leases                                                                                3.6%
     Finance leases                                                                                  7.5%


Commitments related to noncancellable operating and finance leases for each of the next five years and
thereafter as of December 31, 2019 are as follows:

                                                                          Operating          Finance

2020                                                                 $           267                  31
2021                                                                             247                  32
2022                                                                             225                  31
2023                                                                             172                  27
2024                                                                             149                  27
Thereafter                                                                       642                 298

                                                                                1,702                446
Less: Imputed interest                                                            268                204

Total lease liabilities                                                         1,434                242
Less: Current portion                                                             267                 31
Total capital lease obligation                                       $          1,167                211




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   Lease assets and lease liabilities as of December 31, 2019, were as follows:

                                                                                               2019
       Assets              Classification
         Operating         Operating leases ROU assets                                    $       1,240
         Finance           Property, plant, and equipment, net                                      222

       Liabilities
          Current
              Operating    Current portion of operating lease ROU liabilities                          267
              Finance      Current portion of long-term debt                                            31
          Long-term
              Operating    Long-term operating lease ROU liabilities, net
                            of current portion                                                    1,167
             Finance       Long-term debt, net of current portion                                   211


   Future minimum lease commitments under noncancelable operating leases for the next five years and
   thereafter as of December 31, 2018, prior to the adoption of ASU 2016-02, were as follows:

                          2020                                            $         222
                          2021                                                      206
                          2022                                                      183
                          2023                                                      162
                          2024                                                      144
                          Thereafter                                                727
                                                                          $       1,644


   Rental expense, including month-to-month leases and contingent rents, was $411 for the year ended
   December 31, 2018, and is included in other expenses in the accompanying combined statements of
   operations.

(7) Debt
   (a) Short-Term and Long-Term Debt
       The Health System has borrowed master trust debt issued through the following:

           California Health Facilities Financing Authority (CHFFA)
           Alaska Industrial Development and Export Authority (AIDEA)
           Washington Health Care Facilities Authority (WHCFA)
           Montana Facility Finance Authority (MFFA)


                                                     24                                        (Continued)
                                 PROVIDENCE ST. JOSEPH HEALTH
                                Notes to Combined Financial Statements
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                                              (In millions of dollars)



    Lubbock Health Facilities Development Corp (LHFDC)
    Oregon Facilities Authority (OFA)

Short-term and long-term unpaid principal consists of the following at December 31:
                                                                  Maturing   Coupon          Unpaid principal
                                                                  through     rates        2019           2018

Master trust debt:
   Fixed rate:
      Series 2005, Direct Obligation Notes                          2030               $       36            38
      Series 2008B, LHFDC Revenue Bonds                             2023                       15            24
      Series 2009A, Direct Obligation Notes                         2019        6.25                        100
      Series 2009A, CHFFA Revenue Bonds                             2039                                    185
      Series 2009B, CHFFA Revenue Bonds                             2039        5.50                        150
      Series 2009B, CHFFA Revenue Bonds                             2021        5.25                         26
      Series 2009C, CHFFA Revenue Bonds                             2034        5.00           91            91
      Series 2009D, CHFFA Revenue Bonds                             2034        1.70           40            40
      Series 2010A, WHCFA Revenue Bonds                             2039                                    174
      Series 2011A, AIDEA Revenue Bonds                             2041                      123           123
      Series 2011B, WHCFA Revenue Bonds                             2021                       22            32
      Series 2011C, OFA Revenue Bonds                               2026                       11            13
      Series 2012A, WHCFA Revenue Bonds                             2042                      462           471
      Series 2012B, WHCFA Revenue Bonds                             2042                      100           100
      Series 2013A, OFA Revenue Bonds                               2024        5.00           41            48
      Series 2013A, CHFFA Revenue Bonds                             2037                      325           325
      Series 2013C, CHFFA Revenue Bonds                             2043        5.00                        110
      Series 2013D, Direct Obligation Notes                         2023        4.38          252           252
      Series 2013D, CHFFA Revenue Bonds                             2043        5.00          110           110
      Series 2014A, CHFFA Revenue Bonds                             2038                      191           269
      Series 2014B, CHFFA Revenue Bonds                             2044                      119           119
      Series 2014C, WHCFA Revenue Bonds                             2044                       92            92
      Series 2014D, WHCFA Revenue Bonds                             2041        5.00          177           179
      Series 2015A, WHCFA Revenue Bonds                             2045        4.00           78            78
      Series 2015C, OFA Revenue Bonds                               2045                       71            71
      Series 2016A, CHFFA Revenue Bonds                             2047                      448           448
      Series 2016B, CHFFA Revenue Bonds                             2036                      286           286
      Series 2016H, Direct Obligation Bonds                         2036        2.75          300           300
      Series 2016I, Direct Obligation Bonds                         2047        3.74          400           400
      Series 2018A, Direct Obligation Bonds                         2048        4.00          350           350
      Series 2018B, WHCFA Revenue Bonds                             2033        5.00          142           142
      Series 2019A, Direct Obligation Bonds                         2029        2.53          650
      Series 2019B, CHFFA Revenue Bonds                             2039        5.00          118
      Series 2019C, CHFFA Revenue Bonds                             2039        5.00          323

             Total fixed rate                                                               5,373          5,146




                                                       25                                            (Continued)
                                       PROVIDENCE ST. JOSEPH HEALTH
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                                                    (In millions of dollars)




                                                        Maturing         Effective interest rate (1)            Unpaid principal
    Variable rate:                                      through            2019              2018             2019           2018
      Series 2012C, WHCFA Revenue Bonds                   2042                1.46 %           1.44 % $            80             80
      Series 2012D, WHCFA Revenue Bonds                   2042                1.46             1.44                80             80
      Series 2012E, Direct Obligation Notes               2042                2.28             1.99              224             226
      Series 2016C, LHFDC Revenue Bonds                   2030                2.09             1.98                33             36
      Series 2016D, WHCFA Revenue Bonds                   2036                2.11             1.95                89            103
      Series 2016E, WHCFA Revenue Bonds                   2036                2.03             1.88                89            103
      Series 2016F, MFFA Revenue Bonds                    2026                2.04             1.85                37             42
      Series 2016G, Direct Obligation Notes               2047                2.24             1.97              100             100

              Total variable rate                                                                                   732              770

Wells Fargo Credit Facility                               2019                2.81             2.39                                  110
Wells Fargo Credit Facility                               2021                2.92             2.52                                  105

              Unpaid principal, master trust debt                                                               6,105               6,131

    Premium s, discounts, and unamortized
      financing costs, net                                                                                          231              155

              Master trust debt, including
                premiums and discounts, net                                                                     6,336               6,286

    Other long-term debt                                                                                            347              382

              Total debt                                                                                $       6,683               6,668

(1) Variable rate debt and credit facilities carry floating interest rates attached to indexes, which are subject to change based
    on market conditions.



During 2019, the Health System issued $1,091 of Series 2019A, 2019B, and 2019C revenue bonds
and direct obligations notes. In January 2018, the Health System issued $492 of Series 2018A and
2018B revenue bonds and direct obligation notes. The intended uses of funds included refinancing
legacy SJHS and PHS master trust debt and repayment of outstanding lines of credit.

In connection with the Series 2019A-C issuance and Series 2018A-B issuance, the Health System
recorded losses due to extinguishment of debt of $14 and $6 in the years ended December 31, 2019
and 2018, respectively. The losses were recorded in net nonoperating gains (losses) in the
accompanying combined statements of operations.

The following table reflects classification of long-term debt obligations in the accompanying combined
balance sheets as of December 31:

                                                                                                      2019                      2018

Current portion of long-term debt                                                        $                     85                         300
Short-term master trust debt                                                                                  205                         110
Long-term debt, classified as a long-term liability                                                         6,393                       6,258
                    Total debt                                                           $                  6,683                       6,668




                                                               26                                                                   (Continued)
                                PROVIDENCE ST. JOSEPH HEALTH
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   Short-term master trust debt represents debt issues with remarketing provisions unsupported by credit
   facilities with mandatory redemption within one year of December 31, 2019 and 2018.

(b) Other Long-Term Debt
   Other long-term debt consists of the following as of December 31:

                                                                           2019                2018
    Finance leases                                                    $           242                   255
    Notes payable                                                                 100                   117
    Bonds not under master trust indenture and other                                5                    10
                   Total other long-term debt                         $           347                   382



(c) Debt Service
   Scheduled principal payments of long-term debt, considering all obligations under the master trust
   indenture as due according to their long-term amortization schedule, for the next five years and
   thereafter are as follows:

                                                       Master trust       Other             Total
    2020                                         $               69             16                 85
    2021                                                         79             19                 98
    2022                                                         82             17                 99
    2023                                                        365             17                382
    2024                                                        114             15                129
    Thereafter                                                5,396            263              5,659
                 Scheduled principal payments
                   of long-term debt             $            6,105            347              6,452


(d) Derivative Instruments
   The Health System uses interest rate swap agreements to manage interest rate risk associated with its
   outstanding debt. As of December 31, 2019 and 2018, the Health System had interest rate swap
   contracts with a total current notional amount totaling $436 and $453, respectively, with varying
   expiration dates. The interest rate swap agreements do not meet the criteria for hedge accounting and
   all changes in the valuation are recognized as a component of net nonoperating gains (losses) in the
   accompanying combined statements of operations. Settlements related to these agreements are
   recognized as a component of interest, depreciation, and amortization expense in the accompanying
   combined statements of operations. For the years ended December 31, 2019 and 2018, the change in
   valuation was a loss of $33 and a gain of $17, respectively, and settlements recognized as a
   component of interest expense were $8 and $9, respectively.


                                                  27                                          (Continued)
                                  PROVIDENCE ST. JOSEPH HEALTH
                                 Notes to Combined Financial Statements
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                                          (In millions of dollars)



Derivative financial instruments are recorded at fair value taking into consideration the Health System s
and the counterparties nonperformance risk. The fair value of the interest rate swaps is based on
independent valuations obtained and are determined by calculating the value of the discounted cash
flows of the differences between the fixed interest rate of the interest rate swaps and the counterparty s
forward London Interbank Offered Rate curve, which is the input used in the valuation, taking also into
account any nonperformance risk. Collateral posted for the interest rate swaps consist of cash and
U.S. government securities, which are both categorized as Level 1 financial instruments.

As of December 31, 2019 and 2018, the fair value of outstanding interest rate swaps was in a net
liability position of $117 and $84, respectively, and is included in other liabilities in the accompanying
combined balance sheets. Collateral posted in connection with the outstanding swap agreements as of
December 31, 2019 was $15 and is included in other assets in the accompanying combined balance
sheets. The Health System had no collateral posted in connection with the outstanding swap
agreements as of December 31, 2018.

The following tables present the fair value of swaps and related collateral:

                                  December 31,          Fair value measurements at reporting date using
                                     2019                 Level 1          Level 2            Level 3

Liabilities under interest
   rate swaps                $              117                                   117


                                  December 31,          Fair value measurements at reporting date using
                                      2018                Level 1          Level 2           Level 3

Liabilities under interest
   rate swaps                $                84                                    84




                                                   28                                          (Continued)
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(8) Retirement Plans
   (a) Defined Benefit Plans
       The Health System sponsors various frozen defined benefit retirement plans. The measurement dates
       for the defined benefit plans are December 31. A rollforward of the change in projected benefit
       obligation and change in the fair value of plan assets for the defined benefit plans is as follows:

                                                                             2019               2018

       Change in projected benefit obligation:
         Projected benefit obligation at beginning of year             $        2,535               2,741
         Service cost                                                              23                  27
         Interest cost                                                            113                 106
         Actuarial loss (gain)                                                    292                (153)
         Benefits paid and other                                                 (169)               (186)

          Projected benefit obligation at end of year                           2,794               2,535
       Change in fair value of plan assets:
         Fair value of plan assets at beginning of year                         1,469               1,686
         Actual return on plan assets                                             299                (130)
         Employer contributions                                                   100                  99
         Benefits paid and other                                                 (169)               (186)

          Fair value of plan assets at end of year                              1,699               1,469
                       Funded status                                            (1,095)            (1,066)

       Unrecognized net actuarial loss                                              572                526
       Unrecognized prior service cost                                                                   1
                       Net amount recognized                           $         (523)               (539)

       Amounts recognized in the combined balance sheets
         consist of:
           Current liabilities                                         $            (1)                (1)
           Noncurrent liabilities                                               (1,094)            (1,065)
           Unrestricted net assets                                                 572                527
                       Net amount recognized                           $         (523)               (539)

       Weighted average assumptions:
         Discount rate                                                          3.50 %             4.60 %
         Rate of increase in compensation levels                                3.50               3.50
         Long-term rate of return on assets                                     6.50               6.50




                                                     29                                        (Continued)
                            PROVIDENCE ST. JOSEPH HEALTH
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Net periodic pension cost for the defined benefit plans includes the following components:

                                                                        2019                 2018

Components of net periodic pension cost:
  Service cost                                                  $               23                 27
  Interest cost                                                                113                106
  Expected return on plan assets                                               (96)              (105)
  Amortization of prior service cost                                             1                  1
  Recognized net actuarial loss                                                 24                 26
              Net periodic pension cost                         $               65                  55

                                                                $               19                  26


Certain plans sponsored by the Health System allow participants to receive their benefit through a
lump-sum distribution upon election. When lump-sum distributions exceed the combined total of service
cost and interest cost during a reporting period settlement expense is recognized. Settlement expense
represents the proportional recognition of unrecognized actuarial loss and prior service cost.
Settlement expense for the years ended December 31, 2019 and 2018 is included in net nonoperating
gains (losses) in the accompanying combined statements of operations.

The accumulated benefit obligation was $2,739 and $2,488 at December 31, 2019 and 2018,
respectively.

The following pension benefit payments reflect expected future service. Payments expected to be paid
over the next 10 years are as follows:

                   2020                                             $            189
                   2021                                                          187
                   2022                                                          185
                   2023                                                          183
                   2024 2029                                                   1,039
                                                                    $          1,783


The Health System expects to contribute approximately $111 to the defined benefit plans in 2020.

The expected long-term rate of return on plan assets is the expected average rate of return on the
funds invested currently and on funds to be invested in the future in order to provide for the benefits
included in the projected benefit obligation. The Health System used 6.5% in calculating the 2019 and
2018 expense amounts. This assumption is based on capital market assumptions and the plan s target
asset allocation.




                                              30                                             (Continued)
                             PROVIDENCE ST. JOSEPH HEALTH
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                                  December 31, 2019 and 2018
                                      (In millions of dollars)



The Health System continues to monitor the expected long-term rate of return. If changes in those
parameters cause 6.5% to be outside of a reasonable range of expected returns, or if actual plan
returns over an extended period of time, suggest that general market assumptions are not
representative of expected plan results, the Health System may revise this estimate prospectively.

The target asset allocation and expected long-term rate of return on assets (ELTRA) were as follows at
December 31:

                                     2019                 2019             2018              2018
                                    Target               ELTRA            Target            ELTRA

Cash and cash equivalents                  2%                      3%            2%
Equity securities                         45                                    45
Debt securities                           33                                    33
Other securities                          20                                    20
             Total                       100 %                   6.5 %         100 %              6.5 %


The following table presents the Health System s defined benefit plan assets measured at fair value:

                                  December 31,        Fair value measurements at reporting date using
                                     2019               Level 1          Level 2            Level 3
Assets:
  Cash and cash equivalents $                73                   73
  Equity securities:
     Domestic                              293                   293
     Foreign                                77                    77
  Mutual funds                             128                   128
  Domestic debt securities:
     State and government                  400                   310             90
     Corporate                             129                                  129
     Other                                  15                                   15
  Foreign debt securities                   49                                   49
  Commingled funds                         144                   144
  Investments measured
     using NAV                             582
  Transactions pending
     settlement, net                      (191)
             Total            $          1,699




                                               31                                           (Continued)
                            PROVIDENCE ST. JOSEPH HEALTH
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                                     (In millions of dollars)



The following table presents the Health System s defined benefit plan assets measured at fair value:

                                 December 31,        Fair value measurements at reporting date using
                                     2018              Level 1          Level 2           Level 3
Assets:
  Cash and cash equivalents $              81                   81
  Equity securities:
     Domestic                             226                   226
     Foreign                               61                    61
  Mutual funds                            103                   103
  Domestic debt securities:
     State and government                 266                   208             58
     Corporate                            122                                  122
     Other                                 15                                   15
  Foreign debt securities                  40                                   40
  Commingled funds                        141                   141
  Investments measured
     using NAV                            487
  Transactions pending
     settlement, net                       (73)
             Total           $          1,469


The Health System s defined benefit plans participate in various funds that are not actively marketed on
an open exchange. These investments consist of shares or units in investment funds as opposed to
direct interests in the funds underlying holdings, which may be marketable. Due to the nature of these
funds the NAV per share, or its equivalent, reported by each fund manager is used as a practical
expedient to estimate the fair value of the Health System s interest therein. Management believes that
the carrying amounts of these financial instruments provided by the fund managers are reasonable
estimates of fair value.




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                                             (In millions of dollars)



   The following table presents information for investments where either the NAV per share or its
   equivalent was used to value the investments as of December 31:

                                                  Fair value                    Redemption         Redemption
                                        2019                   2018              frequency         notice period
    Hedge funds:
       Long/short equity       $                  54                   43   Monthly or quarterly
       Credit and other                           64                   61   Monthly or quarterly   90 days
    Real assets                                   61                   53   Monthly                30 days
    Risk parity                                  135                  108   Monthly
    Commingled                                   268                  222   Monthly
                 Total         $                 582                  487




   The Health System s defined benefit plans also allow certain investment managers to use derivative
   financial instruments (futures and forward currency contracts) to manage interest rate risk related to the
   plans fixed-income holdings. The investment managers have executed master netting arrangements
   with the counterparties of the futures and forward currency purchase and sale contracts whereby the
   financial instruments held by the same counterparty are legally offset as the instruments are settled.
   The following table presents gross investment derivative assets and liabilities reported on a net basis at
   fair value included in the plans assets as of December 31:

                                                                                    2019               2018
    Derivative assets:
      Futures contracts                                                     $              128                724
      Foreign currency forwards and other contracts                                          2                  4
                  Total derivative assets                                   $              130                728
    Derivative liabilities:
      Futures contracts                                                     $           (128)                (724)
      Foreign currency forwards and other contracts                                       (3)                  (3)
                  Total derivative liabilities                              $           (131)                (727)


(b) Defined Contribution Plans
   The Health System sponsors various defined contribution retirement plans that cover substantially all
   employees. The plans provide for employer matching contributions in an amount equal to a percentage
   of employee pretax contributions, up to a maximum amount. In addition, the Health System makes
   contributions to eligible employees based on years of service. Retirement expense related to these
   plans was $500 and $513 in 2019 and 2018, respectively, and is reflected in salaries and benefit
   expense in the accompanying combined statements of operations.


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                                     PROVIDENCE ST. JOSEPH HEALTH
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                                             (In millions of dollars)



 (9) Self-Insurance Liabilities
    The Health System has established self-insurance programs for professional and general liability and
    workers compensation insurance coverage. These programs provide insurance coverage for healthcare
    institutions associated with the Health System. The Health System also operates insurance captives,
    Providence Assurance, Inc. and American Unity Group, Ltd., to self-insure or reinsure certain layers of
    professional and general liability risk.

    The Health System accrues estimated self-insured professional and general liability and workers
    compensation insurance claims based on management s estimate of the ultimate costs for both reported
    claims and actuarially determined estimates of claims incurred but not reported. Insurance coverage in
    excess of the per occurrence self-insured retention has been secured with insurers or reinsurers for
    specified amounts for professional, general, and workers compensation liabilities. Decisions relating to the
    limit and scope of the self-insured layer and the amounts of excess insurance purchased are reviewed
    each year, subject to management s analysis of actuarial loss projections and the price and availability of
    acceptable commercial insurance.

    At December 31, 2019 and 2018, the estimated liability for future costs of professional and general liability
    claims was $455 and $393, respectively. At December 31, 2019 and 2018, the estimated workers
    compensation obligation was $367 and $351, respectively. Both are recorded in other current liabilities and
    other liabilities in the accompanying combined balance sheets.

(10) Commitments and Contingencies
    (a) Commitments
        Firm purchase commitments at December 31, 2019, primarily related to construction and equipment
        and software acquisition, are approximately $654.

    (b) Litigation
        The healthcare industry is subject to numerous laws and regulations from federal, state, and local
        governments. Compliance with these laws and regulations can be subject to future government review
        and interpretation, as well as regulatory actions unknown or unasserted at this time. Government
        monitoring and enforcement activity continues with respect to investigations and allegations concerning
        possible violations by healthcare providers of regulations, which could result in the imposition of
        significant fines and penalties, as well as significant repayments of patient services previously billed.
        Institutions within the Health System are subject to similar regulatory reviews.

        Management is aware of certain asserted and unasserted legal claims and regulatory matters arising in
        the normal course of business. After consultation with legal counsel, management estimates that these
        matters will be resolved without material adverse effect on the Health System s combined financial
        statements.




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                                                         PROVIDENCE ST. JOSEPH HEALTH
                                                       Notes to Combined Financial Statements
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                                                                          (In millions of dollars)



(11) Functional Expenses
    Operating expenses classified by their natural classification on the combined statements of operations are
    presented by their functional classifications as follows for the years ended December 31:
                                                                                                          2019
                                                                    Program Activities                                                Supporting Activities
                                                     Health plans                        Long-term
                                                         and            Physician        care, hom e                                                                          Total
                                                     accountable           and            care, and       Total         General and                           Total         operating
                                        Hospitals        care           outpatient        hospice       program s      adm inistrative      Other           supporting      expenses

    Salaries and benefits           $       6,932            125             2,364              695        10,116             1,924              132             2,056         12,172
    Supplies                                2,992              2               302              138         3,434                                264               264          3,698
    Purchased healthcare services             219          1,501               219              110         2,049                                                               2,049
    Interest, depreciation, and
        amortization                          803              8               79                21           911               427                 7             434           1,345
    Purchased services,
        professional fees and other         2,784           200              1,148              152         4,284               980              124             1,104          5,388
    Restructuring costs                                                                                                         159                                159            159

         Total operating expenses $        13,730          1,836             4,112            1,116        20,794             3,490              527             4,017         24,811



                                                                                                            2018
                                                                     Program Activities                                                  Supporting Activities
                                                     Health plans                         Long-term
                                                         and             Physician        care, hom e                                                                            Total
                                                     accountable            and            care, and       Total          General and                           Total          operating
                                        Hospitals       care             outpatient         hospice      program s       adm inistrative       Other          supporting       expenses

    Salaries and benefits           $        6,964            119             2,319              577          9,979              1,821               83             1,904         11,883
    Supplies                                 2,920              1               279              114          3,314                                 249               249          3,563
    Purchased healthcare services               13          2,349                36               16          2,414                                                                2,414
    Interest, depreciation, and
        amortization                          815              7                 78               19             919              433                   8            441           1,360
    Purchased services,
        professional fees and other          3,089           265              1,051              120          4,525               413               105              518           5,043
    Restructuring costs                                                                                                           162                                162             162

         Total operating expenses $         13,801          2,741             3,763              846         21,151              2,829              445             3,274         24,425


    Supporting activities include costs that are not controllable by operational leadership. Health System
    leadership drives these costs, which benefit the entire Health System. Costs that are controllable by
    operational leadership are allocated to the respective program activities.




                                                                                         35
EXHIBIT B
9/11/2020                                                   : License Status - Agency Details



  Agency License Details
  The license status information shown below represents information taken from the California Department of
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  example, items sent to the CDI may be pending review or simply may not have yet been entered into our
  licensing database. For instance, continuing education hours quoted may not reflect courses taken in the last 45
  days. This database will reflect concluded disciplinary actions against licensees. Complaints and ongoing
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  Section 12938 (a) of the California Insurance Code, in part, requires the CDI to make all fully executed
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    Name: PROVIDENCE PLAN PARTNERS                                                                         License#: 0M39536
    DBA: AYIN ADMINISTRATIVE HEALTH SOLUTIONS
    Comments:
    AYIN ADMINISTRATIVE HEALTH SOLUTIONS MUST BE USED FOR ALL
    ADMINISTRATIVE BUSINESS CONDUCTED IN CALIFORNIA.
    License type: Registered Administrator Status: Active                Status Date: 06/13/2018         Exp Date: 06/30/2022

    Business Address: 3601 SW MURRAY BLVD. BEAVERTON, OR 97005

                                                          Records 1 to 5




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EXHIBIT C
Home   About Us

 About Us

 Welcome to Providence Health Plan, a part of the integrated delivery system of Providence Health
 & Services. We provide or administer health coverage to more than 650,000 members nationwide.
 We continue to respond to the needs of the community by offering insurance for commercial
 groups, Medicare, Medicaid, individuals and families. We work with your physicians, hospitals and
 pharmacies to keep you healthy, and we strive to make your health care affordable.


 Mission and Values
 Learn about the Providence commitment, the foundation of who we are and what we do.


 History
 Providence Health Plan is part of a rich history that dates back more than 160 years, with the
 founding of the Sisters of Providence in Montreal, Quebec, Canada. This religious community is
 devoted to working with the poor and vulnerable.


 Awards and Recognition
 Providence Health Plan has been recognized nationally for providing members with excellent
 health care and has received numerous awards that honor our services, from environmental
 stewardship to disease management.


 Caring for Your Health
 Learn about our unique approach to caring for you.


 Corporate and Social Responsibility
 Based upon the belief that we are called to make a difference in our society and that we all are
 responsible for the health of the planet, Providence is committed to corporate and social
 responsibility. This commitment is integral to who we are and sets us apart in the local community.
 We support the needs of our region and we also take seriously our stewardship of the environment.
 Through our actions, we acknowledge that caring for people, communities and the earth are
 intertwined.
                                                                                                       /
     Our Insurance Plans
     Learn more about Providence health insurance and apply for coverage that meets your budget and
     health care needs. Learn more about special values and discounts, as well as our extensive doctor
     and pharmacy resources here.

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                                                                                                                   /
EXHIBIT D
9/11/2020                                                                         California Department of Managed Health Care


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                                                                     Contact Information
                                  Legal Name
                                  Providence Health Network
                                  DBA
                                  Type
                                  Full Service



                                  Locations:
                                  Location Name
                                  Providence Health Network
                                  Contact
                                  Member Services
                                  Address
                                  20555 Earl Street Torrance, CA 90503
                                  Phone
                                  888.432.5464
                                  Fax
                                  Not Available
                                  TDD
                                  Not Available
                                  Email
                                  Not Available
                                  Website
                                  www.providence.org



                                  Counties Served by the Health Plan:
                                  The health plan has not reported which counties they serve.


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   How We Began
https://www.providence.org/about/our-heritage                                                     1/3
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   Providence

   In 1856, Mother Joseph and four Sisters of Providence established hospitals, schools and
   orphanages across the Northwest. Over the years, other Catholic sisters transferred
   sponsorship of their ministries to Providence, including the Little Company of Mary,
   Dominicans and Charity of Leavenworth. Recently, Swedish Health Services, Kadlec
   Regional Medical Center and Paci c Medical Centers have joined Providence as secular
   partners with a common commitment to serving all members of the community. Today,
   Providence serves Alaska, California, Montana, Oregon and Washington.

   St. Joseph Health

   In 1912, a small group of Sisters of St. Joseph landed on the rugged shores of Eureka,
   California, to provide education and health care. The ministry later established roots in
   Orange, California, and expanded to serve Southern California, the California High
   Desert, Northern California and Texas. The health system established many key
   partnerships, including the transfer of sponsorship of St. Mary Medical Center in
   California from the Brothers of St. John of God and a joining of Lubbock Methodist
   Hospital System and St. Mary of the Plains Hospital to form Covenant Health in Lubbock,
   Texas. Recently, an af liation was established with Hoag Health to increase access to
   services in Orange County, California.




                   And_We_Respond-PSJH Heritage
                   from PSJH Digital




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https://www.providence.org/about/our-heritage                                                  2/3
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            As expressions of God's healing love, witnessed through the ministry of Jesus, we are
            steadfast in serving all, especially those who are poor and vulnerable.

            OUR VALUES

            Compassion, Dignity, Justice, Excellence, Integrity.

            Learn more about our mission, vision and values.




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9/11/2020                                        The Future of Health for All | Providence




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   The Future of Health for All

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   At Providence, we use our voice to advocate for vulnerable populations and needed
   reforms in health care. We are also pursuing innovative ways to transform health care by
   keeping people healthy, and making our services more convenient, accessible and
   affordable for all. In an increasingly uncertain world, we are committed to high-quality,
   compassionate health care for everyone – regardless of coverage or ability to pay. We
   help people and communities bene t from the best health care model for the future –
   today.

   Together, our 120,000 caregivers (all employees) serve in 51 hospitals, 1,085 clinics and a
   comprehensive range of health and social services across Alaska, California, Montana,
   New Mexico, Oregon, Texas and Washington. The Providence family includes:


        Providence across ve western states
        St. Joseph Health in Northern California
        Covenant Health in West Texas
        Facey Medical Foundation in Los Angeles, CA.
        Hoag Memorial Hospital Presbyterian in Orange County, CA.
        Kadlec in Southeast Washington
        Paci c Medical Centers in Seattle, WA.
        Swedish Health Services in Seattle, WA.

   As a comprehensive health care organization, we are serving more people, advancing
   best practices and continuing our more than 100-year tradition of serving the poor and
   vulnerable. Delivering services across seven states, Providence is committed to touching
   millions of more lives and enhancing the health of the American West to transform care
   for the next generation and beyond.

https://www.providence.org/about                                                                 2/4
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                                      Find us in your community




                                                                                                                  
                         Oregon                                Washington                              Southern Californ




                                                                              




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        Providence Health & Services - Alaska

   California
        St. Joseph Health - Northern California (Humboldt, Napa, Sonoma counties),
        including:
            St. Joseph Heritage Healthcare
        Providence - Southern California (Los Angeles, Orange, and San Bernardino counties,
        the High Desert), including:
            Facey Medical Foundation
            Hoag Health
            St. Joseph Heritage Healthcare

   Montana
        Providence Health & Services - Montana

   New Mexico
        Covenant Health - Eastern New Mexico

   Oregon
        Providence Health & Services - Oregon, including:
            Providence Health Plan

   Texas
        St. Joseph Health - West Texas
        Covenant Health - West Texas, including:


            Covenant Medical Group

   Washington
        Providence Health & Services - Washington, including:
            Kadlec Regional Medical Center
            Paci c Medical Centers
            Swedish Health Services




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